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                                                  Independent Technical
                                                  Review: Security Analysis of
                                                  Georgia’s ImageCast X Ballot
                                                  Marking Devices




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Executive Summary
Dominion Voting Systems Corp., via counsel Susman Godfrey, L.L.P., retained MITRE’s
National Election Security Lab (NESL) to provide an independent expert technical review of
claims made by a researcher concerning the security of specific devices used in the conduct of
elections in the State of Georgia. On behalf of the plaintiffs in Curling v. Raffensperger,1 the
researcher submitted a security analysis of Georgia’s ImageCast X (ICX) Ballot Marking
Devices (BMDs). These devices, produced by Dominion Voting Systems Corp., are currently
distributed state-wide to every electoral precinct and have become the primary mechanism
through which Georgia voters make selections and print ballots during elections. In the security
analysis, the researcher claims to have exploited vulnerabilities in Georgia’s BMDs that “could
be effectuated by malicious actors with very limited time and access to the machines” and that it
would be possible to commit “large-scale fraud” with “only moderate technical skills.”
In this report, as an independent technical reviewer, MITRE NESL undertakes a technical
analysis to assess the feasibility of the researcher’s proposed attacks to change the outcome of a
Georgia election. Without access to Georgia voting equipment or the researcher’s proof-of-
concept capabilities, MITRE NESL began by assuming validity of the researcher’s technical
capabilities. The researcher was provided with unrestricted physical access, system
documentation, and passcodes for the devices examined. Under these conditions, security
researchers may reasonably be assumed capable of compromising a device, regardless of
manufacturer. MITRE NESL summarizes and assesses each of the researcher’s principal
findings, attack capability claims, and main conclusions.
MITRE NESL observed six total attack scenarios hypothesized by the researcher. Four of the
proposed attacks involve replacing election software on BMDs with malicious software that
alters a ballot before being printed and is disguised to look like Dominion’s official application;
one attack inserts malicious hardware components into a BMD printer; and one describes a ballot
stuffing scenario.
The researcher’s proposed attacks were assessed by MITRE NESL to be operationally infeasible
given two parameters: the normal operating procedures of a voting precinct and associated
officials, and scale considerations. Each of the attacks requires access and/or opportunity that
remains unavailable in the operational environment. Five of six attacks were deemed non-
scalable, impacting a statistically insignificant number of votes on a single device at a time. One
attack was technically scalable but also was assessed to be infeasible due to access controls in
place in operational election environments, access required to Dominion election software, and
access required to Dominion election hardware.2 Five of the proposed attacks involve
modifications to a printed ballot’s Quick Response (QR) code—a non-authoritative portion of a
Georgia ballot—that can be detected through Risk-Limiting Audits (RLAs).
MITRE NESL has no evidence that any of the researcher’s proposed attacks, in whole or in part,
have been attempted by any party in an election.




1 Dominion Voting Systems Corp. is not a party in the referenced litigation.

2 MITRE’s assessment of the researcher’s proposed attacks assumes strict and effective controlled access to Dominion election

  hardware and software.

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     Introduction
The MITRE Corporation is a not-for-profit company that works in the public interest to help the
nation address difficult problems that challenge the safety, stability, security, and well-being of
the country. MITRE operates six federally funded research and development centers (FFRDCs),
participates in public-private partnerships, and maintains an independent technology research
program. Working across federal, state, and local governments—as well as industry and
academia—gives MITRE a unique vantage point. MITRE works in the public interest to discover
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good to bring innovative ideas into existence in areas such as artificial intelligence, intuitive data
science, quantum information science, health informatics, policy and economic expertise, cyber-
physical systems security, trustworthy autonomy, cyber threat sharing, and cyber resilience.
MITRE’s National Election Security Lab (NESL) provides state, local, and federal officials, and
election industry participants, a means to maintain public trust and confidence in our election
systems. Leveraging MITRE’s cybersecurity, cyber-physical security, and interdisciplinary
analysis expertise, NESL works with partners to provide objective analysis of the security risk
management associated with election products, jurisdiction and state comprehensive election
systems and procedures, and related services.

1.1 Purpose
On 1 July 2021, a researcher submitted, on behalf of the plaintiffs in Curling v. Raffensperger,3 a
security analysis of Georgia’s ImageCast X (ICX) Ballot Marking Devices.4 The researcher was
provided with unrestricted access to the devices, documentation, and passcode information for
the devices over a period of time that appears to total twelve person-weeks. Pursuant to the
research period, the researcher’s report asserts an ability to exploit vulnerabilities in the ICX
Prime ballot marking device (BMD) in a manner that “could be effectuated by malicious actors
with very limited time and access to the machines”5 and that it would be possible to commit
“large-scale fraud”6 with “only moderate technical skills.”7
These serious claims have potentially grave consequences to the national election landscape.
Dominion Voting Systems Corp., via counsel Susman Godfrey, L.L.P., retained MITRE’s
National Election Security Lab (NESL) to provide an independent expert technical review of the
researcher’s claims.

1.2 Scope
This report summarizes the proof-of-concept attacks8 proposed in the researcher’s July 2021
security analysis and assesses the feasibility of each attack changing the outcome of a Georgia

3 Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT, U.S. District Court for the Northern District of Georgia, Atlanta

  Division.
4 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices, Expert Report Submitted on Behalf of

   Plaintiffs Donna Curling, et al. Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT U.S. District Court for the
   Northern District of Georgia, Atlanta Division, 1 July 2021.
5 ibid., p. 4.

6 ibid., p. 7.

7 ibid., p. 7.

8 A “proof-of-concept” attack is a real but non-harmful attack used to demonstrate security weakness in a system.



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       election. Because the researcher was provided with unrestricted physical access, documentation,
       and access codes for the devices in question, the MITRE NESL team adopted an operating
       assumption that the attacks were technically valid as described.

              Summary of Claims
       The researcher makes multiple claims about the security of the Georgia election system,
       including that some attacks “could be effectuated by malicious actors with very limited time and
       access to the machines.”9 The researcher describes seven principal findings10 (Table 1), four
       proof-of-concept attacks11 (Table 2), and six main conclusions12 (Table 3). Tables 1-3 are MITRE
       NESL’s plain-language interpretations of the researcher’s claims. MITRE NESL provides a
       technical analysis of the claims in Section 5, and assessment of the claims in Section 6.
                            Table 1. Claimed Principal Findings from the Researcher’s Report
No.     Researcher’s Principal Findings                                                    MITRE NESL’s Plain-Language Summary
                                                                                           of Researcher’s Claim
PF.1    “Attackers can alter the [Quick Release] QR codes on printed ballots to            The researcher asserts that with access to a
        modify voters’ selections. Critically, voters have no practical way to             BMD or BMD printer, attackers can
        confirm that the QR codes match their intent, but they are the only part           tamper with Georgia’s voting equipment to
        of the ballot that the scanners count. I demonstrate how the QR codes              change voters’ selections within QR codes
        can be modified by compromising the BMD printer or by installing                   without their knowledge.
        malware on the BMD.”
PF.2    “The software update that Georgia installed in October 2020 left                   The researcher asserts that the process
        Georgia’s BMDs in a state where anyone can install malware with only               used to update the ICX software on
        brief physical access to the machines. I show that this problem can                Georgia BMDs in October 2020 left the
        potentially be exploited in the polling place even by non-technical                equipment vulnerable to attack.
        voters.”
PF.3    “Attackers can forge or manipulate the smart cards that the ICX uses to            The researcher asserts that attackers can
        authenticate technicians, poll workers, and voters. Without needing any            produce unofficial smart cards13 or
        secret information, I created a counterfeit technician card that can               manipulate official cards to create or
        unlock any ICX in Georgia, allowing anyone with physical access to                 enable tampering opportunities for
        install malware.”                                                                  attackers with physical access to Georgia
                                                                                           BMDs.
PF.4    “I demonstrate that attackers can execute arbitrary code with root                 The researcher asserts that the election
        (supervisory) privileges by altering the election definition file that             definition file, installed during election
        county workers copy to every BMD before each election. Attackers                   setup, can be exploited to deploy malicious
        could exploit this to spread malware to all BMDs across a county or the            software when installed to potentially all
        entire state.”                                                                     BMDs in a county or state.




       9 ibid., p. 4.

       10 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices, Expert Report Submitted on Behalf

          of Plaintiffs Donna Curling, et al. Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT U.S. District Court for the
          Northern District of Georgia, Atlanta Division, 1 July 2021. p. 4
       11 ibid., p. 5

       12 ibid., p. 6

       13 For clarity, MITRE NESL uses the term “unofficial smart cards” to describe system access or voter session activation cards

          that were created or modified outside of Dominion’s formal production process or not authorized by an election
          superintendent.

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PF.5    “The ICX contains numerous unnecessary Android applications,               The researcher asserts that using pre-
        including a Terminal Emulator that provides a “root shell” (a              installed software applications present on a
        supervisory command interface that overrides access controls). An          BMD, attackers can gain elevated
        attacker can alter the BMD’s audit logs simply by opening them in the      privileges which facilitate attacks and
        on-screen Text Editor application.”                                        cover their tracks.
PF.6    “In a given election, all BMDs and scanners in a county share the same     The researcher asserts that a compromised
        set of cryptographic keys, which are used for authentication and to        encryption key extracted from a BMD or
        protect election results on scanner memory cards. An attacker with brief   poll worker card (with knowledge of the
        access to a single ICX or a single Poll Worker Card and PIN can obtain     card’s PIN) can be used to decrypt election
        the county-wide keys.”                                                     materials across a county since the same
                                                                                   encryption keys can be used within a
                                                                                   Georgia county.
PF.7    “The ImageCast Precinct (ICP) scanner stores ballot scans in the order     The researcher asserts that an election
        they were cast. A dishonest election worker (like that emphasized by       official with access to a ballot scanner
        the Defendants and their expert ([name redacted]) with just brief access   memory card and an ordered list of voter
        to the scanner’s memory card could violate ballot secrecy and              names for that scanner can map individual
        determine how individual voters voted.”                                    voters to their ballot selections.



                     Table 2. Claimed Proof-of-Concept Attacks from the Researcher’s Report
No.       Researcher’s Proof-of-Concept Attack                                     MITRE NESL’s Plain-Language Summary
                                                                                   of Researcher’s Claim
POC.1     “An attack that uses malicious hardware hidden inside the BMD’s          The researcher’s proof-of-concept (POC)
          printer to alter the votes on printed ballots.”                          attack involves installing a device in a BMD
                                                                                   printer to modify ballots when they are
                                                                                   printed.
POC.2     “Malware that runs on the BMD and alters votes while avoiding hash       The researcher’s POC attack involves
          validation, firmware validation, and logic and accuracy testing.”        installing software that changes votes on a
                                                                                   printed ballot and circumvents detection on
                                                                                   a BMD.
POC.3     “An automated method of installing malware by briefly unplugging         The researcher’s POC attack involves a
          the printer cable and attaching a malicious USB device.”                 hardware device that performs automated
                                                                                   installation of malicious software when
                                                                                   attached to a BMD.
POC.4     “Vote-stealing malware that can be installed remotely from the           The researcher’s POC attack involves a
          [Election Management System] EMS, by altering the BMD’s election         modified election definition file that installs
          definition file.”                                                        malicious software when distributed to
                                                                                   BMDs.




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                        Table 3. Claimed Main Conclusions from the Researcher’s Report
No.    Researcher’s Main Conclusion                                                MITRE NESL’s Plain-Language Summary
                                                                                   of Researcher’s Claim
MC.1   “The ICX BMDs are not sufficiently secured against technical                The researcher asserts that BMDs in use by
       compromise to withstand vote-altering attacks by bad actors who are         Georgia are susceptible to the proposed
       likely to attack future elections in Georgia. Adversaries with the          attacks and findings. Adversaries can
       necessary sophistication and resources to carry out attacks like those I    include foreign state and/or domestic
       have shown to be possible include hostile foreign governments such          political actors with access to Dominion
       as Russia—which has targeted Georgia’s election system in the past—         equipment.
       and domestic political actors whose close associates have recently
       acquired access to the same Dominion equipment that Georgia uses
       through audits and litigation in other jurisdictions.”
MC.2   “The ICX BMDs can be compromised to the same extent and as or               The researcher asserts that BMDs in use by
       more easily than the AccuVote TS and TS-X [Direct Recording                 Georgia are not more secure than
       Electric voting machines] DREs they replaced. Both systems have             AccuVote Direct-Recording Electric (DRE)
       similar weaknesses, including readily bypassed user authentication          machines. BMDs and the associated ICX
       and software validation, and susceptibility to malware that spreads         software take less time to exploit compared
       from a central point to machines throughout a jurisdiction. Yet with        to AccuVote DREs.
       the BMD, these vulnerabilities tend to be even easier to exploit than
       on the DRE system, since the ICX uses more modern and modular
       technology that is simpler to investigate and modify.”
MC.3   “Despite the addition of a paper trail, ICX malware can still change        The researcher asserts that the BMD-
       individual votes and most election outcomes without detection.              printed paper trail provides an opportunity
       Election results are determined from ballot QR codes, which malware         for attackers to change voters’ selections
       can modify, yet voters cannot check that the QR codes match their           within QR codes without their knowledge.
       intent, nor does the state compare them to the human-readable ballot        The researcher also asserts that these
       text. Although outcome-changing fraud conducted in this manner              attacks are difficult to detect given
       could be detected by a risk-limiting audit, Georgia requires a risk-        Georgia’s current risk-limiting audit (RLA)
       limiting audit of only one contest every two years, so the vast majority    policies and practices.
       of elections and contests have no such assurance. And even the most
       robust risk-limiting audit can only assess an election outcome; it
       cannot evaluate whether individual votes counted as intended.”
MC.4   “The ICX’s vulnerabilities also make it possible for an attacker to         The researcher asserts that ballot-
       compromise the auditability of the ballots, by altering both the QR         manipulating attacks can be adapted to
       codes and the human readable text. Such cheating could not be               change voters’ selections in both the QR
       detected by an RLA or a hand count, since all records of the voter’s        code and the plaintext portions of a printed
       intent would be wrong. The only practical way to discover such an           BMD ballot. The researcher also asserts
       attack would be if enough voters reviewed their ballots, noticed the        that this scenario avoids detection during
       errors, and alerted election officials, and election officials identified   RLAs. The conclusion relies on voters not
       the problem as a systemic hack or malfunction; but human-factors            reviewing their printed ballots and
       studies show that most voters do not review their ballots carefully         inconsistencies being attributed to user
       enough, and election officials likely would consider such reports the       error.
       product of voter error. This means that in a close contest, ICX
       malware could manipulate enough ballots to change the election
       outcome with low probability of detection. In contrast, risk-limiting
       audits of hand-marked paper ballots, when used with appropriate
       procedural precautions, provide high confidence that individual votes
       are counted as intended and election outcomes are correct even if the
       election technology is fully compromised.”




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No.      Researcher’s Main Conclusion                                                     MITRE NESL’s Plain-Language Summary
                                                                                          of Researcher’s Claim
MC.5     “Using vulnerable ICX BMDs for all in-person voters, as Georgia                  The researcher asserts that Georgia
         does, greatly magnifies the security risks compared to jurisdictions             assumes an increased risk of attack on its
         that use hand-marked paper ballots but provide BMDs to voter upon                elections with its BMD-only system, where
         request. When use of such BMDs is limited to a small fraction of                 the BMDs are considered vulnerable. The
         voters, as in most other states, they are a less valuable target and less        researcher also asserts that other locations
         likely to be attacked at all. Even if they are successfully compromised,         that use a combination of hand-marked
         attackers can change at most a small fraction of votes—which, again,             paper ballots and optional BMDs are less
         creates a strong disincentive to undertake the effort and risk to change         likely to be attacked. BMDs in the latter
         any such votes.”                                                                 scenario only print a small number of votes,
                                                                                          which reduces attackers’ incentives and
                                                                                          potential impact.
MC.6     “The critical vulnerabilities in the ICX—and the wide variety of lesser          The researcher asserts that Dominion’s
         but still serious security issues—indicate that it was developed                 ICX software does not appear to follow
         without sufficient attention to security during design, software                 modern secure software design principals
         engineering, and testing. The resulting system architecture is brittle;          and will be challenging to retrofit with
         small mistakes can lead to complete exploitation. Likewise, previous             security features. The researcher also
         security testing efforts as part of federal and state certification              asserts that despite its vulnerabilities, the
         processes appear not to have uncovered the critical problems I found.            ICX system was certified by programs that
         This suggests that either the ICX’s vulnerabilities run deep or that             do not seem to be effective.
         earlier testing was superficial. In my professional experience, secure
         systems tend to result from development and testing processes that
         integrate careful consideration of security from their inception. In my
         view, it would be extremely difficult to retrofit security into a system
         that was not initially produced with such a process.”


            Georgia Voting Overview
       Starting in May 2020, Georgia required use of voter-verifiable paper ballots marked by
       electronic ballot markers and tabulated by ballot scanners.14,15 In 2019-2020, Georgia purchased
       33,100 BMDs and 3,800 ICP Tabulators16 from Dominion to replace its previous system.17 The
       state aimed to distribute 31,826 BMDs to its 159 counties to ensure each county had at least one
       BMD per 225 active voters.18 By law, Georgia requires one voting booth or enclosure per 250
       voters in a precinct.19 There were 2,656 precincts in the Georgia 2020 General Election.20


       14 Ga. Comp. R. & Regs.183-1-12-.01. Retrieved 17 June 2022 from https://rules.sos.state.ga.us/gac/183-1-12.

       15 Ga. Code Ann. § 21-2-379.22. Retrieved 17 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-

          elections/chapter-2-elections-and-primaries-generally/article-9-voting-machines-and-vote-recorders-generally/part-6-
          electronic-ballot-markers/section-21-2-37922-requirements-for-electronic-ballot-marking
       16 Georgia Secretary of State, Dominion Contract Amendment 1. Retrieved 17 June 2022 from

          https://web.archive.org/web/20210819043116/https://sos.ga.gov/admin/uploads/Dominion_Contract-_Amendment_1-
          _Executed.pdf
       17 Georgia Department of Administrative Services, New Voting System - Request for Information. Retrieved 22 June 2022 from

          https://ssl.doas.state.ga.us/PRSapp/PublicBidNotice?bid_op=194780047800-SOS0000035
       18 Stephen Fowler, Georgia Buying More New Voting Machines for Counties Ahead Of 2020 Rollout, December 16, 2019.

          Retrieved 25 May 2022 from https://www.gpb.org/news/2019/12/16/georgia-buying-more-new-voting-machines-for-counties-
          ahead-of-2020-rollout
       19 Ga. Code Ann. § 21-2-367. Retrieved 06 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-

          elections/chapter-2-elections-and-primaries-generally/article-9-voting-machines-and-vote-recorders-generally/part-4-optical-
          scanning-voting-systems/section-21-2-367-installation-of-systems-number-of-systems-good-working-order
       20 Georgia Secretary of State, November 3, 2020 General Election Results. Retrieved 09 June 2020 from

          https://results.enr.clarityelections.com/GA/105369/web.264614/#/summary.

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The 2020 Georgia General Election consisted of 4,999,960 total votes for the presidential
race.21,22 3,682,422 votes were cast in-person, 1,315,294 were cast via mail-in ballot,23 and 2,244
votes were write-ins with no further information located on casting method.
In-person voting opportunities in the Georgia 2020 General Election spanned roughly 18 days
(12 October 2020 – 3 November 2020). Advance voting days on Sundays are optional. Georgia’s
advance voting begins the fourth Monday before an election and ends the last Friday before the
event.24 During the 2020 advance voting period, approximately 2,694,763 votes were cast in-
person.25
An official ballot in Georgia is defined as an “instrument, whether paper, mechanical, or
electronic, by which an elector casts his or her vote”26 and is “furnished by the superintendent or
governing authority in accordance with Code Section 21-2-280, including paper ballots that are
read by ballot scanners.”27 Ballots must contain the text “OFFICIAL BALLOT,” precinct
information, the name and date of the election, and the statement: ‘I understand that the offer or
acceptance of money or any other object of value to vote for any particular candidate, list of
candidates, issue, or list of issues included in this election constitutes an act of voter fraud and is
a felony under Georgia law.’28
Paper ballots printed by electronic BMDs “shall be designed as prescribed by the Secretary of
State to ensure ease of reading by electors”29 and shall be “marked with the elector’s choices in a
format readable by the elector.”30
A marked ballot in Georgia consists of Georgia-required text and two components containing
ballot selections: (1) a QR code; and (2) a plaintext summary.31 The QR code is a two-
dimensional barcode that is scanned and tabulated by ballot scanners. Voters are encouraged to
review the plaintext summary by election officials stationed at ballot scanners who are required

21 State of Georgia, 2020 Votes Cast for Certified Write-In Candidates, Retrieved 25 April 2022 from

   https://web.archive.org/web/20220131223603/https://sos.ga.gov/index.php/elections/2020_votes_cast_for_certified_write-
   in_candidates
22 State of Georgia, November 3 Presidential Recount Official and Complete Results, Retrieved 25 April 2022 from

   https://results.enr.clarityelections.com/GA/107231/web.264614/#/detail/5000
23 ibid.

24 Ga. Code Ann. § 21-2-385 (Lexis Advance through the 2021 Regular and Special Sessions of the General Assembly).

   Retrieved 20 April 2022 from https://advance.lexis.com/api/document/collection/statutes-legislation/id/6348-FW71-DYB7-
   W2XW-00008-00?cite=O.C.G.A.%20%C2%A7%2021-2-385&context=1000516
25 U.S. Elections Project, Georgia Early Voting Statistics, Retrieved 20 April 2022 from https://electproject.github.io/Early-Vote-

   2020G/GA.html
26 Ga. Code Ann. § 21-2-2. Retrieved 20 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-elections/chapter-2-

   elections-and-primaries-generally/article-1-general-provisions/section-21-2-2-definitions
27 ibid.

28
   Ga. Code Ann. § 21-2-285. Retrieved 20 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-
   elections/chapter-2-elections-and-primaries-generally/article-8-voting-by-paper-ballot/section-21-2-285-form-of-official-
   election-ballot-attestation-on-receipt-of-benefit-in-exchange-for-vote-when-an-election-is-not-required
29 Ga. Code Ann. § 21-2-286-.b(3). Retrieved 20 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-

   elections/chapter-2-elections-and-primaries-generally/article-8-voting-by-paper-ballot/section-21-2-286-printing-
   specifications-numbering-and-binding-of-ballots
30 Ga. Code Ann. § 21-2-300-.02. Retrieved 20 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-

   elections/chapter-2-elections-and-primaries-generally/article-8a-uniform-election-equipment/section-21-2-300-provision-of-
   new-voting-equipment-by-state-uniform-system-for-all-elections-to-be-conducted-with-use-of-scanning-ballots-marked-by-
   electronic-ballot-markers-pilot-programs-authorized-county-responsibilities-education-county-and-municipal-contracts-for-
   equipment
31 Secure the Vote, FAQ – How does the new voting system work?. Retrieved 20 June 2022 from https://securevotega.com/faq/



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to “offer each voter specific verbal instruction to review their printed paper ballot prior to
scanning it.”32 During an audit or in a case of discrepancy, the plaintext is considered the
authoritative component of a ballot: “For ballots marked by electronic ballot markers, the
auditors shall rely on the printed text on the ballot to determine the voter’s selection.”33
In the case of a close election, Georgia state law does not require automatic recounts. However,
if an election’s margin is less than or equal to 0.5%, a candidate can request a machine recount.34
In the Georgia 2020 General Election, the Georgia Secretary of State ordered a full hand recount
of all presidential votes cast.35
Georgia uses testing, recount, and auditing procedures to discover discrepancies in marked
ballots and ensure proper working election equipment. Several of the relevant procedures are
described in Table 4.
                  Table 4. Summary of Georgia Testing, Recount, and Audit Procedures
 Procedure      Description                                         Summarized Steps36                                 Source
 Logic and      Test performed by all counties at least             •   Check poll book ability to accurately          SEB Rule
 Accuracy       three days prior to an election. LAT                    look up and check-in voters.                   183-1-12-
 Testing        testing ensures proper operation of                                                                    .08
                                                                    •   Check BMD touchscreen to ensure the
 (LAT)          election equipment (including poll books,
                                                                        correct display of selections.                 Logic and
                BMDs, scanners, and EMS systems)
                                                                    •   Verify paper ballots printed by all            Accuracy
                before an election.
                                                                        BMDs/BMD printers accurately reflect           Procedures37
                                                                        choices selected on BMD touchscreens.
                                                                    •   Ensure ballot scanner’s ability to
                                                                        accurately scan marked ballots.
                                                                    •   Ensure ballot scanner’s tabulation on its
                                                                        memory card successfully uploads into
                                                                        EMS.
                                                                    •   Ensure tabulations in EMS accurately
                                                                        reflect selections on paper ballots.
 Recount        State-level re-tabulation of all ballots            •   Randomly select and manually review            SEB Rule
                through ballot scanners after votes are                 at least 100 ballots (75 from electronic       183-1-15-
                certified. A recount may be requested by                BMDs and 25 from hand-marked                   .03
                a candidate in a close election (0.5%                   absentee ballots) across at least 3
                margin), an election official that suspects             precincts.
                an error or discrepancy, or the Georgia
                                                                    •   If no discrepancies are noted during the
                Secretary of State.
                                                                        manual plaintext review, all ballots are
                Manual hand recounts may be conducted                   tabulated using ballot scanners.
                pursuant to a court order or discrepancies
                reported during a machine recount.


32 Ga. Comp. R. & Regs. 183-1-12-.11. Retrieved 20 June 2022 from https://rules.sos.state.ga.us/gac/183-1-12

33 Ga. Comp. R. & Regs. 183-1-15-.04. Retrieved 20 June 2022 from https://rules.sos.state.ga.us/gac/183-1-15

34 State of Georgia, Election Recount Rules in Georgia, Retrieved 20 April 2022 from https://georgia.gov/election-recount-rules-

  georgia
35 Georgia Secretary of State, 2020 General Election Risk-Limiting Audit. Retrieved 06 June 2022 from

  https://sos.ga.gov/page/2020-general-election-risk-limiting-audit.
36 The summarized Georgia testing, recount, and audit procedures provided by MITRE NESL were derived from Georgia rules

  and laws and do not contain all steps performed or required of election personnel.
37 Secure the Vote, January 2020 Logic and Accuracy Procedures v1.0. Retrieved from J. Alex Halderman, Security Analysis of

  Georgia’s ImageCast X Ballot Marking Devices: Exhibit B.

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 Result         After all voting is completed and polls            •   Record count of ballots cast in each            SEB Rule
 Tabulation     are closed, election officials record and              scanner.                                        183-1-12-
                compare the number of voter check-ins                                                                  .12
                                                                   •   Print three tapes containing tabulated
                and marked ballots before sending the
                                                                       results from each scanner. Each tape is
                results and materials to a location for
                                                                       signed by the election management
                official consolidation and tabulation.
                                                                       personnel (if the tapes are believed to
                                                                       be true and correct).
                                                                   •   Record count of printed ballots from
                                                                       each BMD printer.
                                                                   •   Record count of unsuccessfully scanned
                                                                       ballots in the scanner’s emergency bin.
                                                                   •   Record count of voter check-ins.
                                                                   •   Record count of provisional ballots.
                                                                   •   Check to ensure the recorded counts
                                                                       reconcile with each other.
                                                                   •   Recorded results, scanner memory
                                                                       cards, and other election equipment are
                                                                       sealed and transported to a location
                                                                       where results are officially consolidated
                                                                       and tabulated.
                                                                   •   Upon delivery, the received materials
                                                                       are inspected for tampering and then
                                                                       opened.
                                                                   •   Scanner memory card contents are
                                                                       transferred into an EMS and combined
                                                                       with absentee and authorized
                                                                       provisional ballot counts as part of the
                                                                       official consolidation and tabulation
                                                                       process.
 Risk           Manual post-election audit that involves           •   Election superintendents create 2-              SEB Rule
 Limiting       the review of a statistically significant              person audit boards.                            183-1-15-
 Audit          number of randomly selected ballots to                                                                 .04
                                                                   •   Ballot containers are unsealed, counted,
                verify the accuracy of reported election
                                                                       and re-sealed by audit board members.
                outcome.38 Georgia RLAs are performed
                                                                       Chain-of-custody is maintained
                by all counties after general elections in
                                                                       throughout the process.
                even-numbered years and use a
                maximum risk limit of 10%.                         •   Audit boards members use only the
                                                                       plaintext portion of ballots marked by
                                                                       electronic BMDs during the counting
                                                                       process.
                                                                   •   The audit continues until all selected
                                                                       ballots have been counted and the risk
                                                                       limit is met.



     Methodology
To understand the material and make an independent assessment of the researcher’s claims, the
MITRE NESL team reviewed the July 2021 report and documentation from the Dominion

38 Lindeman, Mark, and Philip Stark. "A gentle introduction to risk-limiting audits." IEEE Security & Privacy 10.5 (2012): 42-49.



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Democracy Suite v5.5 Technical Data Package (Appendix A). The team consisted of subject
matter experts in election security (including cyber, physical, and human/operating standards and
norms), offensive cyber operations, defensive cyber operations, malware analysis, and cyber
forensics. The analysis was conducted between 14 March 2022 and 29 April 2022.
To ground the analysis in relevant context, MITRE NESL considered Georgia voting laws,
election practices and protocol, and the researcher’s report. MITRE NESL performed a technical
analysis of the claims in the researcher’s report, documenting the information into threat models
that incorporate the following information:
   •   Resources required
   •   Leveraged vulnerabilities
   •   Types of attacks
   •   Obfuscation techniques
   •   Means, methods, and opportunities of the attacker
   •   Cyber Kill Chain (based on the MITRE ATT&CK™ Framework)
   •   Reliability, feasibility, scalability of attack
MITRE NESL used information derived from the threat models to summarize the attacks, their
required components, and step-by-step procedures. The proposed attacks were then assessed for
feasibility in changing the outcome of an election. Feasibility was determined by qualitatively
measuring the following elements:
    1. Difficulty – General measurement of technical skills needed by personnel to successfully
       achieve an attack, in whole or in part.
    2. Time-required – General measurement of time needed to successfully achieve an attack,
       in whole or in part.
    3. Detectability – General measurement of the relative ease in which an attack, in whole or
       in part, evades discovery through physical observation or technical audit.
    4. Scalability – General measurement of the ability of an attack to affect enough ballots to
       impact the outcome of an election.
Values for these elements were based on the researcher’s proposed attack descriptions and were
determined using the criteria listed in Table 5 and the MITRE NESL team’s experience
supporting cyber operations and election security matters. Scores for detectability and scalability
are additionally derived from difficulty and time-required scores. These elements and values
were combined into matrices, allowing the MITRE NESL team to assess each attack’s overall
feasibility in changing the outcome of an election.




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    Table 5. Criteria Used by MITRE NESL to Assess Feasibility Elements of Proposed Attacks
 Measured Element     Value    Criteria
 Difficulty           High     Achieving the intended purpose of the attack component requires a highly
                               coordinated team of exceptionally skilled and experienced personnel.
                    Moderate   Achieving the intended purpose of the attack component requires some
                               coordination consisting of mid-to-highly skilled and experienced personnel.
                      Low      Achieving the intended purpose of the attack component requires minimal
                               coordination involving personnel with entry-level technical skillsets.
 Time-Required        High     Achieving the intended purpose of the attack component requires the devotion
                               of a large portion of an attacker's available time considering situational and
                               environmental factors. Assumes an attacker team of exceptionally skilled and
                               experienced personnel.
                    Moderate   Achieving the intended purpose of the attack component requires the devotion
                               of a moderate portion of an attacker's available time considering situational and
                               environmental factors. Assumes an attacker team of exceptionally skilled and
                               experienced personnel.
                      Low      Achieving the intended purpose of the attack component requires the devotion
                               of a small portion of an attacker's available time considering situational and
                               environmental factors. Assumes an attacker team of exceptionally skilled and
                               experienced personnel.
 Detectability        High     The attack is likely discoverable given standard security practices and
                               procedures involving election integrity. Assumes an attacker team of
                               exceptionally skilled and experienced personnel.
                    Moderate   The attack has some chance of evading discovery given standard security
                               practices and procedures involving election integrity. Assumes an attacker team
                               of exceptionally skilled and experienced personnel.
                      Low      The attack will likely evade discovery given standard security practices and
                               procedures involving election integrity. Assumes an attacker team of
                               exceptionally skilled and experience personnel.
 Scalability          High     The attack targets and impacts many voting machines, potentially impacting
                               thousands of ballots, and has a statistically significant chance to impact the
                               outcome of an election.
                    Moderate   The attack targets and impacts some voting machines, potentially impacting
                               hundreds of ballots, and is not likely to impact the outcome of an election.
                      Low      The attack targets and impacts a single voting machine, impacting a statistically
                               insignificant number of votes, and will not impact the outcome of an election.


As MITRE NESL did not have access to Georgia voting equipment or the researcher’s proof-of-
concept capabilities, the researcher’s reported technical implementations were assumed to be
valid and working.
A list of compensating controls assumed by MITRE NESL when conducting its technical
analysis (Section 5) and assessment of claims (Section 6) can be found in Appendix B.

     Technical Analysis
The researcher proposed multiple proof-of-concept attacks against Dominion Democracy Suite
5.5-A utilizing both hardware and software. The MITRE NESL team analyzed the researcher’s

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reported vulnerabilities and exploitation methods and assessed their feasibility in changing the
outcome of a Georgia election. Where necessary, MITRE NESL attempted to fill in gaps of
information omitted from the researcher’s stated approach. These assumptions are noted
appropriately.
Analysis of the supporting components for the researcher’s proposed attacks is provided in
Section 5.1. Section 5.2 provides an assessment of how these components are collectively used
in the proposed attack scenarios.

5.1 Supporting Components for Proposed Attacks
The MITRE NESL team reviewed and assessed the supporting components utilized by the
researcher in the proposed attacks. These components included QR code content interpretation,
Raspberry Pi devices, a forged technician card, a poll worker card, an infinite voter card,
modified ICX application files, an automated keystroke scripting device, a modified Election
Definition File (EDF), and log manipulation. Each of the components are summarized and linked
to attacks proposed by the researcher.

5.1.1 Quick Response Code Content Interpretation
A QR code is a two-dimensional barcode used to conveniently store and convey information to
devices that can decode its contents. Georgia’s BMD systems use QR codes to store a voter’s
ballot selections during an election. QR codes appear on printed paper ballots along with a
plaintext summary of the voter’s candidate selections. When a voter inserts a printed ballot into a
scanner, the scanner captures, decodes, and validates the data encoded in the QR code before
recording the ballot selections.
The researcher stated that data stored in a ballot’s QR code is written in byte mode39 in an
unencrypted format understood by Dominion systems. The encoded data structure includes
metadata for the ballot, the ballot selections, and the computed message authentication code
(MAC)40 based on the ballot selections. Ballot selections are encoded as 0 or 1 in the QR code
data structure, and these selections correspond to the candidates listed in the voter’s ballot style.
The researcher asserts that they decoded a ballot’s QR code using freely available software
named Scandit Barcode Scanner for iOS41 and Zbar.42 The decoded content was mentioned to
have been further reverse engineered and tested using Dominion’s ImageCast Remote Accessible
Vote-By-Mail web-based software.
The researcher also asserts that the computed MAC in a QR code is based only on a voter’s
ballot selections and is not unique to a ballot. The notion was reportedly validated by performing
a replay attack (i.e., inserting multiple copies of the same ballot into a scanner) in a laboratory
setting.




39 In a QR code, byte mode refers to a generic method that allows QR code producers to represent approximately 3 KB of data.

40 MACs are cryptographically computed values used to protect a ballot’s data integrity. More information about MACs can be

  found here: https://csrc.nist.gov/csrc/media/publications/fips/198/1/final/documents/fips-198-1_final.pdf.
41 Scandit AG. Scandit Barcode Scanner. Apple App Store, https://apps.apple.com/us/app/scandit-barcode-scanner/id453880584.

42 ZBar. ZBar Bar Code Reader. GitHub, https://github.com/mchehab/zbar.



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MITRE NESL assesses that QR code content interpretation requires knowledge of Dominion’s
encoding format, knowledge of ballot styles (since ballots vary by districts/counties), access to a
ballot QR code, and access to a QR code scanner that can parse byte mode content.
The researcher references the use of QR code interpretation in the proposed BMD Printer Attack
(Section 5.2.1).

5.1.2 Raspberry Pi Devices
Raspberry Pi devices are small computers that can be programmed to efficiently perform any
number of tasks. They support most modern-day programming languages and execution
environments. Raspberry Pi devices are low cost and come in several sizes. The researcher
mentions using Raspberry Pi Zero W devices, which are 65mm x 30mm—roughly half the size
of a credit card. The model features one USB port.
The researcher asserts that they programmed two Raspberry Pi devices to fraudulently alter
ballot print jobs in a laboratory setting. The devices were allegedly instructed to intercept and
selectively modify print jobs received by a printer. The researcher did not specify which printer
drivers were utilized in the malicious hardware.
MITRE NESL assesses that programming Raspberry Pi devices to modify print jobs requires
detailed knowledge of the received content (i.e., an ability to decode QR codes), access to a
target printer model, and access to Raspberry Pi devices.
The researcher references the use of Raspberry Pi devices in the proposed BMD Printer Attack
(Section 5.2.1). The researcher also discusses a potential use of a Raspberry Pi device in the
Infinite Voter Card / Photocopied Ballot Attack (Section 5.2.6).

5.1.3 Forged Technician Card
Technician cards are smart cards with an integrated circuit that, when combined with a PIN,
allow technicians to perform system administration functions on BMDs. Technician tasks
include copying election definition files onto BMDs, performing system configurations,
installing software updates, and exporting election applications and logs.
After reportedly analyzing the security of a technician card in a laboratory setting, the researcher
asserts that Dominion’s system communications use International Organization for
Standardization (ISO) 7816-443 to check aspects of files found on a technician card. The
researcher also claims that the card enables technicians to exit the ICX application and take
advantage of elevated access privileges available on the Android operating system.
The researcher asserts that they created an unofficial (“forged”) technician card by purchasing
and modifying a programmable smart card called a Java Card. The Java Card was reportedly
modified to accept any PIN from a BMD and acknowledge any requested file as present. The
Java card was also programmed to transmit empty files when requested by the ICX application
during the authentication process. These steps were allegedly sufficient to grant technician-level
access to users of the forged technician card.




43 More information about the ISO 7816-4 protocol can be found here: https://www.iso.org/obp/ui/#iso:std:iso-iec:7816:-4:ed-

  4:v1:en.

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MITRE NESL assesses that creating a forged technician card requires knowledge of Dominion
system communication protocol, access to a smart card reader/writer, and access to a
programmable smart card.
The researcher references the use of a forged technician card in the proposed Technician Card
Attack (Section 5.2.2).

5.1.4 Poll Worker Card
Poll worker cards are smart cards with an integrated circuit that, when combined with a PIN,
allow poll workers to perform administrative election tasks involving BMDs. Poll worker tasks
include starting and stopping voting periods, checking machine counters, printing polling related
data, and activating manual ballot sessions on BMDs.
After reportedly analyzing the security of a poll worker card in a laboratory setting, the
researcher asserts that Dominion’s system communications use ISO 7816-4 to check aspects of
files found on the card. Further, the researcher claims to having found cryptographic secrets on
poll worker cards that were re-used in other parts of the election system. For example, the same
encryption keys found on the poll worker card are reportedly also used to decrypt election
definition files, generate MAC values in QR codes, and decrypt election results from scanner
memory cards. The researcher noted that these secrets are shared at the county level in Georgia
and can be reused across many precincts in the same county.
The researcher asserts they created a custom software capability that extracts cryptographic
secrets from a poll worker card inserted into a commercial smart card reader. The secrets are
allegedly copied when a user enters the card’s PIN into the software capability.
MITRE NESL assesses that creating a data extraction capability from a poll worker card requires
knowledge of Dominion system communication protocol, access to an official poll worker card,
the card’s PIN, and a smart card reader. While not specifically described by the researcher,
MITRE NESL also assesses it would be necessary to use a software/hardware monitoring tool to
intercept, record, study, and understand the system communications between a BMD and a poll
worker card to develop the capability.
The researcher references the extraction of cryptographic secrets in the proposed EMS Attack
(Section 5.2.5).

5.1.5 “Infinite” Voter Card
Voter cards are distributed to voters upon check-in at a polling location and subsequently used to
activate voting sessions when inserted into BMDs. Voter cards are automatically deactivated
after a voter selects to print their ballot. A card is returned to a poll worker after each ballot is
scanned. An infinite voter card is an unofficial voter card that does not deactivate after a ballot is
printed, theoretically allowing a voter to print multiple ballots.
The researcher asserts they created an unofficial voter card despite not being provided with a
voter card as part of the equipment received for the assessment. The researcher’s report did not
specifically state how knowledge was obtained to create the card (other than through “reverse
engineering”44). The researcher noted that Dominion’s system communications use ISO 7816-4
to check aspects of files found on a voter card. It is also mentioned that when a person inserts a

44 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices. p. 31.



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voter card into a BMD, the BMD’s ICX application reportedly sends a hard-coded PIN to the
card to access its contents and validates its authenticity through an Election Signature on the
card. After a successful validation, a voter fills out their ballot on the BMD.
The researcher reportedly created an infinite voter card using a purchased programmable smart
card and tested it in a laboratory setting by printing multiple ballots without the card being
deactivated by the ICX/BMD. The researcher reportedly intercepted the hard-coded PIN sent
from the ICX application, extracted an Election Signature,45 and stored them both on the
programmable smart card.
MITRE NESL assesses that creating an infinite voter card requires knowledge of Dominion’s
system communication protocol, physical access to a BMD, access to a programmable smart
card, access to a smart card reader/writer, and knowledge of the hard-coded PIN and Election
Signature (which may also require access to a voter card or a poll worker card and PIN).
An infinite voter card is used as part of the proposed Infinite Voter Card / Photocopied Ballot
Attack (Section 5.2.6).

5.1.6 Modified ImageCast X Application
Dominion’s ICX software is bundled by Dominion into a standard Android application
installation file format called an Android Package (APK). APKs are distributed and installed on
Georgia BMDs, which run the Android operating system.
The researcher reportedly extracted the ICX software,46 reverse engineered it, and modified it to
fraudulently alter ballot selections in a laboratory setting using the following process:
     1. Obtain a copy of the original application. The researcher allegedly obtained a copy of
        the ICX application by physically accessing a BMD in a laboratory setting and extracting
        the application’s APK file. The researcher suggested two methods attackers can
        potentially use to obtain this file: 1) physically access a BMD with a forged technician
        card as part of a Technician Card Attack (Section 5.2.2); or 2) obtain a USB drive
        distributed to election officials that is used to perform software updates on BMDs.
     2. Reverse engineer the original application. The researcher asserts they reverse
        engineered the ICX application by disassembling the APK and identifying places in the
        code to insert malicious functionality.
     3. Insert new (malicious) functionality. The researcher reportedly wrote a malicious
        ballot-manipulating software library and inserted it into the ICX software. While not
        specifically stated by the researcher, MITRE NESL assesses that this step requires
        previous knowledge of a name, party, or other identifier if an attacker is aiming to
        achieve a particular electoral outcome.
     4. Package software into a new application. The researcher reportedly bundled the
        modified software code into an APK file using a similar process Dominion used to create
        the original file.


45 The researcher’s report did not indicate how the Election Signature was obtained. MITRE NESL assumed the content was

   extracted from an official poll worker card and PIN (as described in Section 5.1.4). The researcher also discussed a scenario
   where an Election Signature could be extracted using an official voter card, two programmable smart cards, a Raspberry Pi
   device, and a smart card reader.
46 The researcher notes they had access to ICX software versions 5.5.10.30 and 5.5.10.32.



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    5. Test the modified application on a BMD. While not specifically stated by the
       researcher, MITRE NESL assumed the researcher tested the modified ICX software on a
       BMD system to validate that the modifications worked as expected. The researcher
       alludes to testing in a note that mentions, “These demonstrations have minor
       imperfections (such as delays or small visual glitches).”47
The researcher noted several anti-detection techniques that could be integrated into the modified
ICX software. These additional modifications would be included as new functionality (Step 3
above). The following technical and procedural controls were addressed by the researcher.
     •    Display of Application Hash. The ICX application displays a hash of the installed ICX
          application (APK file) on-screen, a feature which has been used in field audits to verify
          application integrity.48 A malicious version of the ICX application was reportedly
          programmed by the researcher to display the expected hash of the original ICX
          application.
     •    Application Export. The technician mode of the ICX application includes a software
          feature to export the application’s APK file to a USB drive, which can be forensically
          analyzed on a trusted computer. This ICX application feature has also been used in field
          audits to verify application integrity.49 A malicious version of the ICX application was
          reportedly programmed by the researcher to subvert this check and instead export a copy
          of the original APK when a technician presses the “Export Apps” button.
     •    MAC Authentication. MACs are cryptographically computed values that help ensure
          the integrity of data encoded in a ballot’s QR code. It was asserted that the researcher’s
          malicious ICX application was programmed to perform all ballot-manipulating code
          instructions before MAC calculations occur in the software, allowing the MAC
          calculations to happen normally. This design factor reportedly alleviates the need to
          obtain an encryption key. Alternatively, the researcher suggests that the secret key used
          in MAC calculations can be extracted from the ICX software and used to create valid
          MACs.
     •    Logic and Accuracy Testing (LAT). LAT testing ensures proper operation of election
          equipment and is performed by counties at least three days prior to an election.50 The
          researcher suggests that LAT testing could be detected and subverted by malicious ICX
          software that monitors the date/time, the number of printed ballots, the rate of voting, the
          pattern of votes, the number of corrected mistakes, or use other factors that might
          distinguish a real voting session from a LAT testing session.
The researcher reportedly used two methods to install a modified ICX application onto a Georgia
BMD: side loading, and “ahead-of-time” (OAT) file replacement. For brevity, OAT files are
further referred to as “OATs.”


47 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices, Expert Report Submitted on Behalf

   of Plaintiffs Donna Curling, et al. Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT U.S. District Court for the
   Northern District of Georgia, Atlanta Division, 1 July 2021. p. 19
48 ibid., Exhibit C (p. 5)

49 ibid., Exhibit C (p. 5)

50 Ga. Comp. R. & Regs.183-1-12-.08. Retrieved 05 Jun 2022 from https://casetext.com/regulation/georgia-administrative-

   code/department-183-rules-of-state-election-board/chapter-183-1-georgia-election-code/subject-183-1-12-preparation-for-and-
   conduct-of-primaries-and-elections/rule-183-1-12-08-logic-and-accuracy-testing.

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    •    Side Loading. BMDs allow the installation of Android applications from unknown
         sources in the Android Settings menu. By enabling this feature, a user can install an APK
         file from a USB drive through several methods. The side loading installation process used
         by the researcher involves tapping an application of interest in the File Manager
         application, which is available by default on most Android systems.
         The researcher references side loading in several of the local proof-of-concept attacks.
    •    OAT Replacement. The Android operating system includes an application performance
         feature, which uses an application’s optimized code file (an OAT) to speed up the launch
         time and improve an application’s general responsiveness. An OAT is generated for each
         application upon install and re-generated each time the application is updated. The
         researcher allegedly used a technique demonstrated at the Black Hat® Asia 2015
         conference to replace an application’s OAT with a malicious version.51 The technique
         depends on the ability to insert metadata from the original application’s OAT into the
         newly modified application’s OAT. The new OAT can then be copied to a BMD and
         replace the original ICX application’s OAT. This action requires elevated privileges on
         the BMD, which were reportedly available on the equipment the researcher assessed.
         This method is referenced by the researcher in the proposed EMS Attack (Section 5.2.5).
MITRE NESL assesses that modifying the ICX application requires physical access to a BMD,
access to the version of ICX application used in a target election, and access to reverse
engineering software.
Modified ICX applications are used or referenced in the proposed Technician Card Attack
(Section 5.2.2), Bash Bunny Attack (Section 5.2.3), Safe Mode Attack (Section 5.2.4), and EMS
Attack (Section 5.2.5).

5.1.7 Automated Keystroke Scripting Device
An automated keystroke scripting device is programmable hardware that acts as an all-in-one
USB keyboard and storage drive. When the hardware is attached to a machine via a USB cable,
the keystroke scripting device powers on and attempts to execute a set of pre-programmed
actions. These actions can include keyboard keystrokes, file transfers, and button presses at
designated pixel coordinates.
The researcher asserts they used a Bash Bunny (one of various automated keystroke scripting
products available on the market) in a laboratory setting to automate keystrokes, button presses,
and file copies on a BMD.
MITRE NESL assesses that the use of automated keyboard scripting devices in proposed attack
scenarios requires physical access to a BMD, access to an automated keyboard scripting device,
and knowledge of available Android system commands, Android menus and buttons, and on-
screen pixel coordinates.
Automated keyboard scripting devices are referenced in the proposed Bash Bunny Attack
(Section 5.2.3) and the Technician Card Attack (Section 5.2.2).



51 P. Sabanal, Hiding Behind ART, Black Hat Asia 2015, https://www.blackhat.com/docs/asia-15/materials/asia-15-Sabanal-

  Hiding-Behind-ART-wp.pdf

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5.1.8 Modified Election Definition File
Election Definition Files (EDFs) are created within Election Management Systems (EMSs) and
contain ballot style definitions specific to a county and its districts. They are placed on USB
sticks and are managed by election officials at a central location. The USB sticks are inserted
into BMDs and the EDFs are installed through the ICX application prior to pre-election logic and
accuracy testing by election officials. EDFs are encrypted zip files, referred to in the researcher’s
report as “ICX.dat.”
The researcher asserts that the EDF encryption key52 for an ICX.dat file can be obtained from an
EMS, an Election Project database,53 or from a Poll Worker Card with knowledge of its PIN
(Section 5.1.4).
The researcher also asserts that EDFs are not digitally signed. This allegedly allowed the
researcher to decrypt the EDF (using the derived encryption key), insert ballot-manipulating
software into the EDF, and re-encrypt the file with the original encryption key without failing
integrity checks on a tested BMD in a laboratory setting.
MITRE NESL assesses that the use of modified EDFs requires access to an EDF file, an EDF
file encryption key, a modified ICX application (Section 5.1.7), and physical access to a BMD.
These modified EDFs are used as part of the proposed EMS Attack (Section 5.2.5).

5.1.9 Log Manipulation
Logs are files that contain records of application usage data and events. These records can be
reviewed for troubleshooting or auditing purposes.
The researcher asserts to having identified several types of logged information which attackers
can modify to cover their tracks. These included a “public counter” of ballots printed during the
current contest, a “lifetime counter” of ballots printed by the machine since its creation, and
timestamped records of administrative accesses, openings/closings of polling sessions, and
removable media attachment/detachment events.
The researcher notes that access to ICX log files is only controlled by filesystem permissions and
no log file integrity checks are conducted by the system. The researcher reportedly performed a
test in a laboratory setting where modifications were made to a BMD’s lifetime counter and
access log through use of the BMD’s pre-installed applications. The Safe Mode Attack (Section
5.2.4) was referenced as an example method of how an attacker could potentially gain privileges
needed to bypass permission controls and modify existing logs. The researcher also theorized a
scenario where log manipulation could be automated in a similar manner to how the proposed
EMS Attack (Section 5.2.5) distributes modified EDFs (Section 5.1.8).
MITRE NESL assesses that the manipulation of BMD audit log files requires physical access to
a BMD, elevated access privileges, a mechanism to navigate to and open BMD operating system
files, and knowledge of relevant ICX auditing information and log file locations.




52 For the purposes of this report, “encryption key” refers to the initialization vector (IV) and symmetric encryption key used to

  encrypt or decrypt election materials.
53 An Election Project database is a structured set of election data used by an EMS and EMS users to configure and create EDFs.

  An Election Project database can be imported into an EMS through an “Election Package,” a transferrable zip file.

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The researcher did not assert that they implemented log manipulation into any proposed attack
scenario but noted that real attacks could take advantage of the privilege escalation opportunity
on BMDs to modify audit log files.

5.2 Proposed Attack Scenarios
MITRE NESL identified six distinct proposed attack scenarios hypothesized by the researcher
that have a potential to change voter ballots. Attack scenarios, as defined by MITRE NESL, are
combinations of steps performed by an attacker (or a team of attackers) to bypass compensating
controls, affect election equipment, and influence an election outcome. In the July 2021 report,
the researcher assessed and reportedly developed attack capabilities against a broad array of
Dominion equipment and components. MITRE NESL chose to focus on the proposed attack
scenarios that have the potential to change ballots. Other attacks in the researcher’s principal
findings or main conclusions are addressed in Section 6.
Each of the six attack scenarios comprise one or more supporting components (listed in Section
5.1). The proposed attack scenarios have been renamed for clarity and are presented in the same
order as they appear in the July 2021 report. The attack scenarios include:
      1. BMD Printer Attack - BMD printer hardware tampering using Raspberry Pi devices.
      2. Technician Card Attack - Install local malware using forged technician card.
      3. Bash Bunny Attack - Install local malware using automated keystroke scripting device.
      4. Safe Mode Attack - Install local malware using alternate Android mode.
      5. EMS Attack - Distribute malware using modified EDF files.
      6. Photocopied Ballot Attack* - Ballot stuffing using photocopier or infinite voter cards.
*The Photocopied Ballot Attack comprises two attacks mentioned by the researcher. MITRE NESL combined them
for clarity due to their similarity.
The goal of these proposed attacks, as the researcher mentioned, was to “alter voters' votes while
subverting all of the procedural protections practiced by the State.”54 The researcher claimed,
“Many of the attacks I successfully implemented could be effectuated by malicious actors with
very limited time and access to the machines, as little as mere minutes”55 and that “ICX malware
can still change individual votes and most election outcomes without detection.”56
Alternatively, should the attack fail to produce the intended electoral decision, an adversary
aiming to reduce confidence in the election could use the knowledge that ballots had been
modified (and counted as modified) to question the legitimacy of the electoral results. The
researcher acknowledges this secondary objective while summarizing the report’s main
conclusions: “Georgia's BMDs are so vulnerable [it] is all but certain to be exploited by partisan
actors to suppress voter participation and cast doubt on the legitimacy of election results.”57




54 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices. p. 4.

55 ibid., p. 4.

56 ibid., p. 6.

57 ibid., p. 8.



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5.2.1 Ballot Marking Device Printer Attack
In a proof-of-concept attack proposed by the researcher, two malicious Raspberry Pi devices
were reportedly attached and hidden inside a BMD printer (HP LaserJet M402dne) and
connected to the printer’s power supply. The devices allegedly capture a ballot, modify the
ballot’s embedded QR code selections58 in favor of the preferred candidate, and then print the
modified ballot.
According to the researcher’s proposed attack description, the malicious hardware replaces the
physical USB cord inside the printer with one of the devices capturing and sending ballots
wirelessly to the other for ballot interpretation and modification. If a ballot selection is not in
favor of the preferred candidate, the software is described to replace the QR code with a
randomly selected QR code from a set of previously encountered favorable ballots while keeping
the plaintext of the original ballot intact. When the ballot is printed, the plaintext reflects the
voter’s original selections.
To perform this attack, MITRE NESL assesses that an attacker must fulfill the following
prerequisites:
     •    Detect and decode a QR code in the raw data transmission sent to a printer
     •    Interpret QR code content (Section 5.1.1)
               o Possess knowledge of Dominion’s encoding format
               o Possess knowledge of election related information (e.g., precinct, ballot styles)
                 specific to an ICX BMD
               o Obtain access to a ballot QR code
               o Obtain access to a QR code scanner that can parse byte mode content
     •    Configure Raspberry Pi (or equivalent) hardware (Section 5.1.2)
               o Possess ability to interpret QR codes
               o Obtain access to target printer model (available through public procurement
                 documents)
               o Obtain access to Raspberry Pi devices
     •    Obtain access and possess ability to disassemble and reassemble printer hardware
          components

5.2.1.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and
Georgia risk-limiting audits to determine that the BMD Printer Attack is non-scalable,
detectable, and requires a high degree of access. Table 6 breaks down the feasibility of the
attack’s components. Critical components that affected MITRE NESL’s feasibility assessment
are highlighted in bold. The values assessed by MITRE NESL assumed the criteria and

58 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

  Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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definitions stated in Section 4. The values in Table 6 also assumed that the proposed attack
would be performed against a single device (otherwise attacking multiple devices will increase
“Time Required” and decrease “Overall Feasibility”).
                                   Table 6. BMD Printer Attack Feasibility Matrix
 Attack                  Details                                                      Difficulty     Time           Overall
 Component                                                                                           Required       Feasibility
 QR Code Content         Create software that decodes and interprets content          Moderate       High           Moderate
 Interpretation          from a submitted ballot in a target election
 Configurating           Create software that modifies a ballot                       Moderate       Moderate       Moderate
 Raspberry Pi
                         Integrate software into Raspberry Pi hardware                Low            Low            High
 Devices
                         devices
 Inserting               Access/obtain BMD Printer that will be used in               High           Moderate       Low
 Raspberry Pi            a target election
 Devices into
                         Access/obtain a printer of the same make/model as            Low            Low            High
 BMD Printer
                         BMD Printer for testing
                         Install the hardware devices into the printer (i.e.,         Moderate       High           Moderate
                         remove casing, unplug/plug-in hardware)
 Detectability           Attack avoids detection by poll workers, other               High           High           Low
                         voters (e.g., poll worker detects someone
                         tampering with equipment at a polling station)
                         at precinct
                         Attack avoids detection by staff (e.g., security             High           High           Low
                         detects someone tampering with equipment in a
                         warehouse) at county storage location
                         Attack avoids detection through an RLA                       High           Low*           Low
                         Attack avoids detection through result tabulation59          Low            Low*           High
 Scalability             Attack can be performed on many BMDs                         High           High           Low

* MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the researcher’s proposed BMD Printer Attack’s feasibility are
access, detectability, and scalability.
     •    Limited Access to BMD Printers. This proposed attack relies on access to BMD
          printers used in Georgia elections. Obtaining access to the printers before an election may
          be difficult without the help of an insider or intruder.
     •    High Detectability. The proposed BMD Printer Attack would most likely occur at a
          county storage or polling location since some knowledge of ballot styles is required.
          Assuming the attack occurs in one of these locations, an attacker would need to bypass

59 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.

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         physical and operational security controls. The proposed BMD Printer Attack is also
         detectable through an RLA.
    •    Limited Scalability. Since the proposed BMD Printer Attack targets one BMD Printer at
         a time, the number of potentially affected votes in a Georgia election would be
         statistically insignificant60 to change the outcome of an election and avoid a recount.

5.2.2 Technician Card Attack
In a proof-of-concept attack proposed by the researcher, a forged technician card was reportedly
used to gain privileged access to a Georgia BMD to install ballot manipulating malware in a
laboratory setting. The forged technician card reportedly contains a file identifying it as an
administrative card with the Technician record value set (distinguishing it from a poll worker
card). The attacker allegedly used this privileged access to install a modified ICX application on
the BMD.
The researcher describes the modified ICX software as having been programmed to change
voters’ ballot selections embedded in the printed QR codes61 in favor of the preferred candidate.
The researcher asserts that the modified ballots are accepted by an ICP Scanner. The researcher
also mentions that the modified ICX software installation process can be aided by an automated
keystroke scripting device. After completing the software installation process and removing the
technician card from the BMD, the researcher asserts the modified ICX software remains
running on the BMD after the attacker leaves.
To perform this attack, MITRE NESL assesses that an attacker must fulfill the following
prerequisites:
    •    Modify the ICX application software (Section 5.1.6)
              o Obtain physical access to BMD
              o Obtain access to specific version of ICX application used in a target election
              o Obtain access and ability to use reverse engineering software
    •    Create a forged technician card (Section 5.1.3)
              o Possess knowledge of Dominion system communication protocol
              o Obtain access to smart card reader/writer
              o Obtain access to programmable smart card
    •    Obtain physical access to BMD USB port
    •    Possess knowledge of election related information (e.g., precinct, ballot style) specific to
         the ICX BMD




60 Assuming each BMD prints 225 ballots, attacking a single BMD would not have a statistically significant chance at changing

   the outcome of an election and avoiding a recount. In practice, MITRE NESL also assumes that this attack would be
   implemented in such a way to only affect a fraction of unfavorable votes to avoid detection during vote tabulation and
   auditing. This further increases the number of BMD printers requiring an attack to change the outcome of an election.
61 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

   Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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5.2.2.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and
Georgia risk-limiting audits to determine that the proposed Technician Card Attack is non-
scalable, detectable, and requires a high degree of access. Table 7 breaks down the feasibility of
the attack’s components. Critical components that affected MITRE NESL’s feasibility
assessment are highlighted in bold. The values assessed by MITRE NESL assumed the criteria
and definitions stated in Section 4. The values in Table 7 also assumed that the proposed attack
would be performed against a single device (otherwise attacking multiple devices will increase
“Time Required” and decrease “Overall Feasibility”). MITRE NESL additionally assumed the
use of some automation to install the modified ICX application.
                           Table 7. Technician Card Attack Feasibility Matrix
 Attack          Details                                                          Difficulty   Time       Overall
 Component                                                                                     Required   Feasibility
 Forged          Access/obtain knowledge about the authentication protocol        Moderate     Moderate   Moderate
 Technician      used between BMDs and Technician Cards
 Card
                 Access/obtain real Technician Card and PIN for testing and       High         Moderate   Low
                 protocol discovery

                 Access/obtain BMD hardware and software for testing and          High         Moderate   Low
                 protocol discovery
                 Create forged technician card, assuming knowledge of             Low          Low        High
                 authentication protocol
 Modified ICX    Access/obtain ICX software application used in a target          High         Moderate   Low
 Application     election
                 Reverse-engineer ICX software application                        Moderate     Moderate   Moderate
                 Insert malicious functionality into application                  High         Low        Moderate
                 Repackage Application                                            Low          Low        High
                 Access/obtain BMD hardware and software equipment                High         Moderate   Low
                 for testing
 Automate /      Access/obtain BMD hardware and software equipment                High         Moderate   Low
 Scripting       for testing
 Actions on
                 Configure software to perform file transfers, keystrokes, and    Moderate     Moderate   Moderate
 BMD
                 button presses (through pixel coordinates)
 (optional)
 Detectability   Attack avoids detection by poll workers, other voters (e.g.,     High         Low        Moderate*
                 poll worker detects someone inserting a card and installing
                 malware at a polling station) at precinct while polls are open
                 Attack avoids detection by election officials (e.g., security    Moderate     Low        Moderate
                 detects someone inserting a card and installing malware at a
                 warehouse) at county storage location
                 Attack avoids detection through an RLA                           High         Low**      Low




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                     Attack avoids detection through result tabulation62                      Low            Low**         High
 Scalability         The attack can be performed on many BMDs                                 High           High          Low

* A poll worker card (Section 5.1.4) may be required to continue polling upon the launch of the ICX application on
a BMD.63 This step was not mentioned in the researcher’s report. If required, the need for a poll worker card would
increase the detectability of the Technician Card Attack and force an attacker to 1) obtain a working poll worker
card and PIN, or 2) further manipulate the malicious software to bypass the card/PIN requirement.
** MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the proposed Technician Card Attack’s feasibility are access,
time, detectability, and scalability.
     •    Limited Access to ICX Application. This proposed attack relies on access to the
          specific ICX software version running on Georgia BMDs for a target election. Obtaining
          this software may be difficult without the help of an insider or intruder.
     •    Limited Time Window. This proposed attack requires time to modify and then install
          the ICX application. The amount of time (and hence the number of possible modified
          ballots) decreases as the attack is deployed over the course of an election.
     •    High Detectability. The proposed Technician Card Attack is detectable through an RLA.
     •    Limited Scalability. Since the proposed Technician Card Attack targets one BMD at a
          time, the number of potentially affected votes in a Georgia election would be statistically
          insignificant64 to change the outcome of an election and avoid a recount.

5.2.3 Bash Bunny Attack
In a proof-of-concept attack proposed by the researcher, an automated keystroke scripting device
in the form of a Bash Bunny was reportedly used to install a modified ICX application on a
Georgia BMD in a laboratory setting. The researcher describes the hardware as an all-in-one
USB keyboard and storage device that automatically triggers a series of pre-programmed
modifications to the BMD when plugged in via a USB cable.
The asserted modifications, made by the Bash Bunny, include changes to the Android system
settings, file copies, and the installation of the researcher’s modified ICX software, which was
allegedly programmed to change voters’ ballot selections in the printed ballot’s QR code.65 After
completing the software installation process and removing the Bash Bunny hardware from the


62 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.
63 Dominion Voting Systems Corp. Democracy Suite ImageCast X User Guide, Aug 2018. p. 49

64 Assuming each BMD prints 225 ballots, attacking a single BMD would not have a statistically significant chance at changing

   the outcome of an election and avoiding a recount. In practice, MITRE NESL also assumes that this attack would be
   implemented in such a way to only affect a fraction of unfavorable votes to avoid detection during vote tabulation and
   auditing. This further increases the number of BMDs requiring an attack to change the outcome of an election.
65 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

   Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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BMD, the researcher mentions that the modified ICX software remains running on the BMD
after the attacker leaves.
The Bash Bunny attack, as described by the researcher, takes advantage of apps left running in
the background during an ICX software update in October 2020. The background apps can be
accessed through an Alt-Tab key combination and provide a means for an attacker to install a
malicious ICX application.
To perform this attack, MITRE NESL assesses that an attacker must fulfill the following
prerequisites:
   •   Modify the ICX application software (Section 5.1.6)
           o Obtain physical access to BMD
           o Obtain access to specific version of ICX application used in a target election
           o Obtain access and ability to use reverse engineering software
   •   Pre-program an automated keystroke scripting device (Section 5.1.7)
           o Obtain physical access to BMD
           o Obtain access to automated keystroke scripting device
           o Possess knowledge of Android system commands, menus/buttons, on-screen pixel
             coordinates
   •   Obtain physical access to USB port
   •   Operate in a manner at a polling station to avoid detection
   •   Possess knowledge of election related information (e.g., precinct, ballot style) specific to
       the ICX BMD

5.2.3.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and
Georgia risk-limiting audits to determine that the proposed Bash Bunny Attack is non-scalable,
detectable, and requires a high degree of access. Table 8 breaks down the feasibility of the
attack’s components. Critical components that affected MITRE NESL’s feasibility assessment
are highlighted in bold. The values assessed by MITRE NESL assumed the criteria and
definitions stated in Section 4. The values in Table 8 also assumed that the proposed attack
would be performed against a single device (otherwise attacking multiple devices will increase
“Time Required” and decrease “Overall Feasibility”).




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                                   Table 8. Bash Bunny Attack Feasibility Matrix
 Attack Component           Details                                                      Difficulty    Time           Overall
                                                                                                       Required       Feasibility
 Modified ICX               Access/obtain ICX software application used in               High          Moderate       Low
 Application                a target election
                            Reverse-engineer ICX software application                    Moderate      Moderate       Moderate
                            Insert malicious functionality into application              High          Low            Moderate
                            Repackage Application                                        Low           Low            High
                            Access/obtain BMD hardware and software                      High          Moderate       Low
                            equipment for testing
 Automate/Scripting         Access/obtain BMD hardware and software                      High          Moderate       Low
 Actions on BMD             equipment for testing
                            Configure software to perform file transfers,                Moderate      Moderate       Moderate
                            keystrokes, and button presses (through pixel
                            coordinates)
 Detectability              Attack avoids detection by poll workers, other               High          Low            Moderate*
                            voters (e.g., poll worker detects someone inserting
                            a Bash Bunny at a polling station)
                            Attack avoids detection by poll workers, other               Low           Low            High
                            voters while polls are open (e.g., voters notice
                            abnormalities on equipment or ballot)
                            Attack avoids detection through an RLA                       High          Low**          Low
                            Attack avoids detection through result tabulation66          Low           Low**          High
 Scalability                The attack can be performed on many BMDs                     High          High           Low

* A poll worker card (Section 5.1.4) may be required to continue polling upon the launch of the ICX application on
a BMD.67 This step was not mentioned in the researcher’s report. If required, the need for a poll worker card would
increase the detectability of the Bash Bunny Attack and force an attacker to 1) obtain a working poll worker card
and PIN, or 2) further manipulate the malicious software to bypass the card/PIN requirement.
** MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the Bash Bunny Attack’s feasibility are access, time,
detectability, and scalability.
     •    Limited Access to ICX Application. This proposed attack relies on access to the
          specific ICX software version running on Georgia BMDs for a target election. Obtaining
          this software may be difficult without the help of an insider or intruder.



66 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.
67 Dominion Voting Systems Corp. Democracy Suite ImageCast X User Guide, Aug 2018. p. 49



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    •    Limited Access to Voting Equipment. Testing the Bash Bunny Attack requires BMD
         equipment, which may be difficult without the help of an insider or intruder.
    •    Limited Time Window. This proposed attack requires time to modify and then install
         the ICX application. The amount of time (and hence the number of possible modified
         ballots) decreases as the attack is deployed over the course of an election.
    •    High Detectability. The proposed Bash Bunny Attack is detectable through an RLA.
    •    Limited Scalability. Since the proposed Bash Bunny Attack targets one BMD at a time,
         the number of potentially affected votes in a Georgia election would be statistically
         insignificant68 to change the outcome of an election and avoid a recount.

5.2.4 Safe Mode Attack
In a proof-of-concept attack proposed by the researcher, a BMD was reportedly rebooted into an
alternate Android mode known as “safe mode” that provides access and privileges needed to
install software. Safe mode was allegedly entered by pressing and holding the power button,
which then prompted a user to “reboot to safe mode.” Although the researcher describes the
BMD’s door to the power button as tamper-sealed, they note that there were openings in the door
that a thin metal tool could be inserted into to achieve a button press.
The July 2021 report states safe mode as an access vector for attackers to install “vote-stealing
malware”69 on a BMD but does not clearly articulate whether the researcher installed or tested
any ballot manipulating software through safe mode during their assessment. MITRE NESL
assumes the researcher intended to convey the idea that this access method could be used to
install and run a modified ICX application in a similar fashion as described in the other attack
scenarios (Technician Card Attack and Bash Bunny Attack) to change voters’ ballot selections in
printed QR codes.70
To perform this attack, MITRE NESL assesses that an attacker must fulfill the following
prerequisites:
    •    Modify the ICX application software (Section 5.1.6)
              o Obtain physical access to BMD
              o Obtain access to specific version of ICX application used in a target election
              o Obtain access and ability to use reverse engineering software
    •    Obtain physical access to BMD power button
    •    Obtain physical access to USB port
    •    Possess knowledge of election related information (e.g., precinct, ballot style) specific to
         the ICX BMD


68 Assuming each BMD prints 225 ballots, attacking a single BMD would not have a statistically significant chance at changing

   the outcome of an election and avoiding a recount. In practice, MITRE NESL also assumes that this attack would be
   implemented in such a way to only affect a fraction of unfavorable votes to avoid detection during vote tabulation and
   auditing. This further increases the number of BMDs requiring an attack to change the outcome of an election.
69 J. Alex Halderman, Security Analysis of Georgia’s ImageCast X Ballot Marking Devices. p. 39.

70 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

   Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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5.2.4.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and
Georgia risk-limiting audits to determine that the Safe Mode Attack is non-scalable, detectable,
and requires a high degree of access. Table 9 breaks down the feasibility of the attack’s
components. Critical components that affected MITRE NESL’s feasibility assessment are
highlighted in bold. The values assessed by MITRE NESL assumed the criteria and definitions
stated in Section 4. The values in Table 9 also assumed that the proposed attack would be
performed against a single device (otherwise attacking multiple devices will increase “Time
Required” and decrease “Overall Feasibility”). MITRE NESL additionally assumed the use of
some automation to install the modified ICX application.
                                    Table 9. Safe Mode Attack Feasibility Matrix
 Attack                   Details                                                      Difficulty     Time             Overall
 Component                                                                                            Required         Feasibility
 Modified ICX             Access/obtain ICX software application used in               High           High             Low
 Application              a target election
                          Reverse-engineer ICX software application                    Moderate       Moderate         Moderate
                          Insert malicious functionality into application              High           Low              Moderate
                          Repackage Application                                        Low            Low              High
                          Access/obtain BMD hardware and software                      High           Moderate         Low
                          equipment for testing
 Automate /               Access/obtain BMD hardware and software for                  High           Moderate         Low
 Scripting Actions        automation testing
 on BMD
                          Configure software to perform file transfers,                Low            Low              High
 (optional)
                          keystrokes, and button presses (through pixel
                          coordinates)
 Detectability            Attack avoids detection by poll workers, other               High           Moderate         Low*
                          voters (e.g., poll worker detects someone
                          rebooting a BMD and installing malware at a
                          polling station) at precinct
                          Attack avoids detection by election officials (e.g.,         High           Moderate         Low
                          security detects someone rebooting a BMD and
                          installing malware at a warehouse) at county
                          storage location
                          Attack avoids detection through an RLA                       High           Low**            Low
                          Attack avoids detection through result tabulation71          Low            Low**            High
 Scalability              The attack can be performed on many BMDs                     High           High             Low

* A poll worker card (Section 5.1.4) may be required to continue polling upon the launch of the ICX application on
a BMD.72 This step was not mentioned in the researcher’s report. If required, the need for a poll worker card would


71 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.
72 Dominion Voting Systems Corp. Democracy Suite ImageCast X User Guide, Aug 2018. p. 49



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increase the detectability of the Safe Mode Attack and force an attacker to 1) obtain a working poll worker card and
PIN, or 2) further manipulate the malicious software to bypass the card/PIN requirement.
** MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the Safe Mode Attack’s feasibility are access, detectability,
time, and scalability.
    •    Limited Access to ICX Application. This attack relies on access to the specific ICX
         software version running on Georgia BMDs for a target election. Obtaining and
         modifying this software may be difficult without the help of an insider or intruder.
    •    Limited Access to Voting Equipment. Testing this attack requires access to a BMD,
         which may be difficult without the help of an insider or intruder.
    •    High Detectability. This attack requires access to a BMD’s power button, which is likely
         obstructed at a polling station. Moving equipment would likely be spotted by a poll
         worker or another voter. This physical limitation increases the likelihood that the
         proposed attack is performed at a county storage location (or at a precinct after hours)
         and requires the help of an insider or intruder with significant knowledge of the BMD
         and its operation. The proposed Safe Mode Attack is also detectable through an RLA.
    •    Limited Time Window. This proposed attack requires time to modify and then install
         the ICX application. The amount of time (and hence the number of possible modified
         ballots) decreases as the attack is deployed over the course of an election.
    •    Limited Scalability. Since the proposed Safe Mode Attack targets one BMD at a time,
         the number of potentially affected votes in a Georgia election would be statistically
         insignificant73 to change the outcome of an election and avoid a recount.

5.2.5 Election Management System Attack
In a proof-of-concept attack proposed by the researcher, an EMS EDF was reportedly modified
to execute ballot manipulating software when distributed to and installed on a BMD in a
laboratory setting. Using an allegedly discovered vulnerability in the ICX application, the
researcher asserts that they bypassed permissions and effectively gained privileged root-level
execution needed to install a modified version of the ICX application.
Since BMDs run with elevated privileges, the researcher’s alleged malicious EDF bypasses
Android access controls and modifies a file found on BMDs that automatically executes when a
BMD powers on. The modified file was described to have been programmed to swap out part of
the BMD’s original ICX application74 with the researcher’s ballot-altering software. The ballot-


73 Assuming each BMD prints 225 ballots, attacking a single BMD would not have a statistically significant chance at changing

   the outcome of an election and avoiding a recount. In practice, MITRE NESL also assumes that this attack would be
   implemented in such a way to only affect a fraction of unfavorable votes to avoid detection during vote tabulation and
   auditing. This further increases the number of BMDs requiring an attack to change the outcome of an election.
74 In the EMS Attack, the researcher reportedly swaps out the Ahead of Time (OAT) file in the ICX application with the OAT

   from the modified ICX application. OATs are commonly used in Android to efficiently launch and run applications. By


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altering software allegedly changes voters’ ballot selections in the printed QR codes75 in favor of
the preferred candidate.
To perform this proposed attack, MITRE NESL assesses that an attacker must fulfill the
following prerequisites:
    •    Modify EDF file (Section 5.1.8)
              o Obtain access to EDF file
              o Obtain access to EDF file encryption key
                        ▪    Obtain access to poll worker card and PIN (Section 5.1.4) or EMS
              o Modify the ICX application software (Section 5.1.6)
                        ▪    Obtain physical access to BMD
                        ▪    Obtain access to specific version of ICX application used in a target
                             election
                        ▪    Obtain access and ability to use reverse engineering software
    •    Distribute modified EDF files to BMDs
    •    Possess knowledge of election related information (e.g., precinct, ballot style) specific to
         the ICX BMD

5.2.5.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and
Georgia risk-limiting audits to determine that the proposed EMS Attack is scalable, detectable,
and requires a high degree of access. MITRE NESL assessed this attack to be scalable because of
its potential to affect ballots across a county. Table 10 breaks down the feasibility of the attack’s
components. Critical components that affected MITRE NESL’s feasibility assessment are
highlighted in bold. The values assessed by MITRE NESL assumed the criteria and definitions
stated in Section 4. The values in Table 10 also assumed that the proposed attack would be
performed against a single EMS (otherwise attacking multiple EMSs will increase “Time
Required” and decrease “Overall Feasibility”).




   replacing the OAT in the ICX application, the researcher allegedly proves it possible to run a modified ICX application while
   leaving the original ICX application files in place.
75 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

   Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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                                       Table 10. EMS Attack Feasibility Matrix
 Attack                Details                                                         Difficulty    Time            Overall
 Component                                                                                           Required        Feasibility
 Modified ICX          Access/obtain ICX software application used in a                High          Moderate        Low
 Application           target election
                       Reverse-engineer ICX software application                       Moderate      Moderate        Moderate
                       Insert malicious functionality into application                 High          Low             Moderate
                       Repackage Application                                           Low           Low             High
                       Access/obtain BMD hardware and software                         High          Moderate        Low
                       equipment for testing
 Modified EDF          Access/obtain the original EDF                                  High          Moderate        Low
 File
                       Access/obtain EDF encryption key                                High          Moderate        Low
                       Reform the EDF file so that it can modify BMD                   Low           Low             High
                       operating system files
                       Create software that swaps out the ICX application’s            High          Moderate        Low
                       OAT
                       Distribute modified EDF file to BMDs                            High          Moderate        Low
 Detectability         Attack conducted at a central county facility avoids            High          Moderate        Low
                       detection by election officials (e.g., staff detects
                       someone tampering with EMS / EDF files)
                       Attack conducted at a Dominion facility avoids                  High          Moderate        Low
                       detection by Dominion (e.g., staff detects someone
                       tampering with Election Project files)
                       Attack avoids detection through an RLA                          High          Low*            Low
                                                                             76
                       Attack avoids detection through result tabulation               Low           Low*            High
 Scalability           The attack can be performed on many BMDs                        Low           Low             High

* MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the proposed EMS Attack’s feasibility are access, time, and
detectability.
     •    Limited Access to ICX Application. This proposed attack relies on access to the
          specific ICX software version running on Georgia BMDs for a target election. Obtaining
          this software may be difficult without the help of an insider or intruder.
     •    Limited Access to Voting Equipment. Testing the proposed EMS Attack requires EMS
          systems and BMD equipment, which may be difficult without the help of an insider or
          intruder.

76 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.

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   •   Limited Time Window. There is a limited and decreasing time window during which an
       attacker can execute the proposed EMS Attack. For this attack to become scalable, the
       ICX software must altered and repackaged into a modified EDF before the EDF is
       distributed and installed on BMDs for a target election.
   •   High Detectability. The proposed EMS Attack is detectable through an RLA.

5.2.6 Infinite Voter Card / Photocopied Ballot Attack
The researcher proposes two attacks capable of producing a theoretically infinite number of
ballots. Using either a photocopier or an Infinite Voter Card, the researcher reportedly produced
multiple paper ballots with favorable selections in a laboratory setting. The researcher further
mentions that these ballot-stuffing attacks are possible in Georgia due to the lack of a unique
identifier in a ballot’s QR code. The Infinite Voter Card Attack and Photocopied Ballot Attack
are listed separately in the July 2021 report but were combined in MITRE NESL’s analysis due
to their similarity.
To carry out the proposed Photocopied Ballot Attack, the researcher asserts that an attacker can
make selections on a BMD, print a ballot, and then smuggle the ballot out of the polling location
for the purpose of making copies. Despite using non-standard paper, the researcher asserts that
the copied ballots were all accepted by a ballot scanner. While the researcher does not discuss
this step, MITRE NESL assessed that the copied ballots would need to be smuggled back into
the polling location and inserted into a ballot scanner.
To carry out the proposed Infinite Voter Card attack, the researcher asserts that an attacker can
create or obtain an infinite voter card, bring the card to a voting machine, print multiple ballots,
and insert them into a ballot scanner.
To perform this attack, MITRE NESL assesses that an attacker must fulfill the following
prerequisites:
   •   Obtain access to a photocopier after printing a ballot but before scanning it; or possess an
       infinite voting card (Section 5.1.5)
           o (Infinite voter card) Possess knowledge of Dominion’s system communication
             protocol
           o (Infinite voter card) Obtain physical access to a BMD
           o (Infinite voter card) Obtain access to a programmable smart card
           o (Infinite voter card) Obtain access a smart card reader/writer
           o (Infinite voter card) Possess knowledge of the hard-coded PIN and Election
             Signature, which may also require access to a voter card or a poll worker card and
             PIN
   •   Operate in a manner at a polling station to avoid detection

5.2.6.1 Feasibility
The MITRE NESL team reviewed the researcher’s documentation on the proposed attack to
develop a working hypothesis of how the attack would need to be executed considering Georgia
voting procedures, installation and deployment of voting equipment, verification procedures, and

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Georgia risk-limiting audits to determine that the proposed Infinite Voter Card / Photocopied
Ballot Attack is non-scalable, detectable, and requires minimal access. Table 11 breaks down the
feasibility of the attack’s components. Critical components that affected MITRE NESL’s
feasibility assessment are highlighted in bold. The values assessed by MITRE NESL assumed
the criteria and definitions stated in Section 4. The values in Table 11 also assumed that the
proposed attack would be performed against a single precinct (otherwise attacking multiple
precincts will increase “Time Required,” increase “Detectability,” and decrease “Overall
Feasibility”).
               Table 11. Infinite Voter Card / Photocopied Ballot Attack Feasibility Matrix
 Attack             Details                                                             Difficulty    Time           Overall
 Component                                                                                            Required       Feasibility
 Infinite Voter     Access/obtain real Voter Card for testing and protocol              Low           Low            High
 Card               discovery
                    Access/obtain BMD hardware and software for testing                 High          Moderate       Low
                    and protocol discovery
                    Obtain voter card PIN                                               Moderate      Low            Moderate
                    Obtain voter card contents                                          Moderate      Low            Moderate
                    Create infinite voter card                                          Moderate      Low            Moderate
                    Print multiple ballots                                              Low           High           Moderate
 Photocopier        Send ballot photograph to accomplice for printing                   Low           Low            High
                    Sneak ballot out of polling location                                Moderate      Low            Moderate
                    Print multiple of copies of ballots                                 Low           Low            High
 Detectability      Smuggle printed ballots into polling location in such a             High          Low            Low
                    way to avoid detection by poll workers, other voters
                    Scan multiple ballots in such a way to avoid detection              High          High           Low
                    by poll workers, other voters
                    Attack is conducted in such a way to avoid detection                Low           Low            High
                    through an RLA
                    Attack avoids detection through result tabulation 77                High          Low*           Low
 Scalability        The attack can be performed at many precincts                       High          Moderate       Low


* MITRE NESL assesses the noted time-required value as Low but acknowledges that the value is dependent on
implementation details of the proposed attack. Because the researcher did not provide details about this aspect of
the attack, MITRE NESL assumes that an attacker in this scenario has no direct involvement in the tabulating or
auditing process.
Overall Feasibility Assessment: Operationally Infeasible
The most critical factors affecting the Infinite Voter Card / Photocopied Ballot Attack’s
feasibility are detectability and scalability.




77 For the purposes of this table, “result tabulation” includes state-level machine recounts and the tabulation procedure performed

  by election officials at precincts when polling closes.

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    •     High Detectability. Poll workers are instructed to monitor a precinct’s scanners as part
          of Georgia’s standard election practices and procedures.78 Inserting multiple ballots into a
          scanner as part of the proposed Infinite Voter Card / Photocopied Ballot Attack would be
          difficult to achieve without arousing suspicion. In addition, discrepancies between the
          number of voter check-ins and ballots cast would cause mismatched numbers during
          result tabulations in poll closure procedures. These discrepancies would be investigated
          and reported by election management staff. Finally, use of non-standard ballot paper
          types would be detectable during an audit.
    •     Limited Scalability. Both attacks are limited to a singular precinct and the copy attack
          can only duplicate a single ballot style unless multiple ballots are exfiltrated for copying,
          meaning this attack will likely only be effective in smaller scale elections.

       Assessment of Claims
Based on the technical analysis described in Section 5, MITRE NESL assessed the researcher’s
claims (see Section 2) about vulnerabilities in and proposed attacks against Georgia election
systems. MITRE NESL concluded that all attack scenarios described by the researcher require
highly unusual opportunity, insider knowledge, technical skill, and extensive access and that it
would be operationally infeasible for the attacks described on the Georgia election system to be
“effectuated by malicious actors with very limited time and access to the machines” to commit
“large-scale fraud” with “only moderate technical skills” in the context of changing the outcome
of an election.
        Table 12: MITRE NESL’s Assessment of Researcher Claims - Conclusions and Rationale
 No.        MITRE NESL’s Plain-language                     MITRE NESL            MITRE NESL Rationale
            Summary of the Researcher’s Claim               Conclusion
 PF.1       The researcher asserts that with access         Tampering is          The researcher’s proposed QR code tampering
            to a BMD or BMD printer, attackers              technically           attacks79 are assumed to be valid; however,
            can tamper with Georgia’s voting                possible but is       MITRE NESL assessed the proposed attack
            equipment to change voters’ selections          operationally         scenarios in which QR code tampering occurs
            within QR codes without their                   infeasible to         as operationally infeasible.
            knowledge.                                      achieve in            MITRE NESL’s technical analysis for each of
                                                            practice.             the relevant attack scenarios can be found in:
                                                                                   •     Section 5.2.1 BMD Printer Attack
                                                                                   •     Section 5.2.2 Technician Card Attack
                                                                                   •     Section 5.2.3 Bash Bunny Attack
                                                                                   •     Section 5.2.4 Safe Mode Attack
                                                                                   •     Section 5.2.5 EMS Attack




78 Secure The Vote, Poll Worker Manual 2021. Retrieved 06 June 2022 from

  https://georgiapollworkers.sos.ga.gov/Shared%20Documents/Georgia%20Poll%20Worker%20Manual%202021.pdf.
79 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

  Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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No.      MITRE NESL’s Plain-language                MITRE NESL        MITRE NESL Rationale
         Summary of the Researcher’s Claim          Conclusion
PF.2     The researcher asserts that the process    Tampering is      The researcher’s proposed “Alt-Tab” attack
         used to update the ICX software on         technically       vector that takes advantage of the
         Georgia BMDs in October 2020 left          possible but is   vulnerability caused by the October 2020
         the equipment vulnerable to attack.        operationally     Georgia BMD update process is assumed
                                                    infeasible to     valid; however, MITRE NESL assessed the
                                                    achieve in        proposed attack scenario in which the
                                                    practice.         vulnerability was leveraged to be
                                                                      operationally infeasible.
                                                                      MITRE NESL’s technical analysis for each of
                                                                      the relevant attack scenarios can be found in:
                                                                      •    Section 5.2.3 Bash Bunny Attack

PF.3     The researcher asserts that attackers      Tampering is      The researcher’s proposed creation and use of
         can produce unofficial smart cards or      technically       unofficial smart cards is assumed to be a valid
         manipulate official cards to create or     possible but is   attack vector; however, MITRE NESL
         enable tampering opportunities for         operationally     assessed the proposed attack scenarios in
         attackers with physical access to          infeasible to     which unofficial smart cards were used to be
         Georgia BMDs.                              achieve in        operationally infeasible.
                                                    practice.
                                                                      MITRE NESL’s technical analysis for each of
                                                                      the relevant attack scenarios can be found in:
                                                                      •    Section 5.2.2 Technician Card Attack
                                                                      •    Section 5.2.5 EMS Attack
                                                                      •    Section 5.2.6 Infinite Voter Card Attack

PF.4     The researcher asserts that the election   Tampering is      The researcher’s proposed use of modified
         definition file, installed during          technically       EDFs is assumed to be a valid attack vector;
         election setup, can be exploited to        possible but is   however, MITRE NESL assessed the
         deploy malicious software when             operationally     proposed attack scenario in which the
         installed to potentially all BMDs in a     infeasible to     modified EDFs are used to be operationally
         county or state.                           achieve in        infeasible.
                                                    practice.
                                                                      MITRE NESL’s technical analysis for each of
                                                                      the relevant attack scenarios can be found in:
                                                                      •    Section 5.2.5 EMS Attack

PF.5     The researcher asserts that using pre-     Tampering is      The researcher’s proposed use of pre-installed
         installed software applications present    technically       software applications on a BMD as an attack
         on a BMD, attackers can gain elevated      possible but is   vector is assumed valid; however, MITRE
         privileges which facilitate attacks and    operationally     NESL assessed the proposed attack scenarios
         cover their tracks.                        infeasible to     in which the pre-installed applications are
                                                    achieve in        used to be operationally infeasible.
                                                    practice.
                                                                      MITRE NESL’s technical analysis for each of
                                                                      the relevant attack scenarios can be found in:
                                                                      •    Section 5.2.1 BMD Printer Attack
                                                                      •    Section 5.2.2 Technician Card Attack
                                                                      •    Section 5.2.3 Bash Bunny Attack
                                                                      •    Section 5.2.4 Safe Mode Attack




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 No.        MITRE NESL’s Plain-language                   MITRE NESL           MITRE NESL Rationale
            Summary of the Researcher’s Claim             Conclusion
 PF.6       The researcher asserts that a                 Tampering is         The researcher’s proposed method of
            compromised encryption key                    technically          decrypting election materials from an
            extracted from a BMD or poll worker           possible but is      encryption key extracted from a BMD or poll
            card (with knowledge of the card’s            operationally        worker card is assumed valid; however,
            PIN) can be used to decrypt election          infeasible to        MITRE NESL assessed the proposed attack
            materials across a county since the           achieve in           scenario in which the EDF is decrypted and
            same encryption keys can be used              practice.            modified to be operationally infeasible.
            within a Georgia county.
                                                                               MITRE NESL’s technical analysis for each of
                                                                               the relevant attack scenarios can be found in:
                                                                                •    Section 5.2.5 EMS Attack

 PF.7       The researcher asserts that an election       Associating          Potential voter secrecy attacks on the memory
            official with access to a ballot scanner      voters with their    card of an ICP scanner require highly unusual
            memory card and an ordered list of            ballot selections    access, opportunity, and knowledge. In the
            voter names for that scanner can map          is not               researcher’s claim, the opportunity would be
            individual voters to their ballot             operationally        limited to small precincts with limited voter
            selections.                                   possible in most     turnout.
                                                          precincts.
                                                                               This claim assumes a poll worker can access a
                                                                               complete chronological list of voter check-ins
                                                                               and possess a means to track all individuals’
                                                                               voter activity throughout the voting process.
                                                                               In practice, this would be difficult to achieve
                                                                               since: 1) voters customarily check-in across
                                                                               multiple poll pads; 2) voters cannot be
                                                                               expected to cast ballots in the same order in
                                                                               which they checked-in; 3) multiple scanners
                                                                               may be available at a precinct, resulting in a
                                                                               distribution of ballots across multiple
                                                                               machines/memory cards; and 4) use of
                                                                               photographic and recording devices is illegal
                                                                               in a polling location while polls are open.80
                                                                               The claim additionally assumes that the
                                                                               malicious poll worker has the potential access,
                                                                               means, and technical skills to remove the
                                                                               memory card, insert it into a memory card
                                                                               reader, copy its contents, return the memory
                                                                               card to its proper storage location, and
                                                                               smuggle out the copied content without
                                                                               detection. Individuals receiving the copied
                                                                               content must also possess the knowledge and
                                                                               skills needed to parse the content.
                                                                               Any of these steps are technically possible in a
                                                                               lab environment; however, MITRE NESL
                                                                               assessed the execution of this proposed attack
                                                                               scenario to be operationally infeasible.




80 Ga. Code Ann. § 21-2-413. Retrieved 08 June 2022 from https://casetext.com/statute/code-of-georgia/title-21-

  elections/chapter-2-elections-and-primaries-generally/article-11-preparation-for-and-conduct-of-primaries-and-elections/part-
  1-general-provisions/section-21-2-413-conduct-of-voters-campaigners-and-others-at-polling-places-generally

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No.     MITRE NESL’s Plain-language                MITRE NESL        MITRE NESL Rationale
        Summary of the Researcher’s Claim          Conclusion
POC.1   The researcher’s proof-of-concept          Tampering is      This attack scenario is operationally infeasible
        (POC) attack involves installing a         technically       to change the outcome of an election due to
        device in a BMD printer to modify          possible but is   the following factors:
        ballots when they are printed.             operationally
                                                   infeasible to     •    Limited Access to BMD Printers
                                                   achieve in        •    High Detectability
                                                   practice.         •    Limited Scalability

                                                                     More details about MITRE NESL’s technical
                                                                     analysis of this proposed POC attack scenario
                                                                     are in Section 5.2.1.
POC.2   The researcher’s POC attack involves       Tampering is      The attack scenarios that use POC.2 are
        installing software that changes votes     technically       operationally infeasible to change the outcome
        on a printed ballot and circumvents        possible but is   of an election due to the following common
        detection on a BMD.                        operationally     factors:
                                                   infeasible to
                                                   achieve in        •    Limited Access to ICX Application
                                                   practice.         •    Limited Access to Voting Equipment
                                                                     •    Limited Time Window
                                                                     •    High Detectability
                                                                     •    Limited Scalability

                                                                     More details about MITRE NESL’s technical
                                                                     analysis of this proposed POC attack scenario
                                                                     are in Sections 5.2.2, 5.2.3, 5.2.4, and 5.2.5.
POC.3   The researcher’s POC attack involves       Tampering is      This attack scenario is operationally infeasible
        a hardware device that performs            technically       to change the outcome of an election due to
        automated installation of malicious        possible but is   the following factors:
        software when attached to a BMD.           operationally
                                                   infeasible to     •    Limited Access to ICX Application
                                                   achieve in        •    Limited Access to Voting Equipment
                                                   practice.         •    Limited Time Window
                                                                     •    High Detectability
                                                                     •    Limited Scalability

                                                                     More details about MITRE NESL’s rationale
                                                                     for this POC attack are in Section 5.2.3.
POC.4   The researcher’s POC attack involves       Tampering is      This attack scenario is operationally infeasible
        a modified election definition file that   technically       to change the outcome of an election due to
        installs malicious software when           possible but is   the following factors:
        distributed to BMDs.                       operationally
                                                   infeasible to     •    Limited Access to ICX Application
                                                   achieve in        •    Limited Access to Voting Equipment
                                                   practice.         •    Limited Time Window
                                                                     •    High Detectability

                                                                     More details about MITRE NESL’s technical
                                                                     analysis of this proposed POC attack scenario
                                                                     are in Section 5.2.5.




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 No.        MITRE NESL’s Plain-language                     MITRE NESL            MITRE NESL Rationale
            Summary of the Researcher’s Claim               Conclusion
 MC.1       The researcher asserts that BMDs in             Tampering is          Without access to Georgia’s voting equipment
            use by Georgia are susceptible to the           technically           or the researcher’s proof-of-concept
            proposed attacks and findings.                  possible but is       capabilities, MITRE NESL assumed validity
            Adversaries can include foreign state           operationally         of the researcher’s technical capabilities.
            and/or domestic political actors with           infeasible to
                                                                                  While technically possible, the researcher’s
            access to Dominion equipment.                   achieve in
                                                                                  proposed attacks were assessed by MITRE
                                                            practice.
                                                                                  NESL to be operationally infeasible given two
                                                                                  parameters: the normal operating procedures
                                                                                  of a voting precinct and associated officials,
                                                                                  and scale considerations.
 MC.2       The researcher asserts that BMDs in             Not enough            Without a detailed technical analysis, MITRE
            use by Georgia are not more secure              information           NESL could not assess the security of the two
            than AccuVote Direct-Recording                  available to          systems based on the analysis provided. The
            Electric (DRE) machines. BMDs and               compare               researcher reports that it is easier to reverse
            the associated ICX software take less           systems.              engineer the Android-based BMDs vs. the
            time to exploit compared to AccuVote                                  Windows CE-based DREs; however, reverse
            DREs.                                                                 engineering only represents one of the many
                                                                                  components in the process of a potential
                                                                                  attack.
 MC.3       The researcher asserts that the BMD-            Tampering is          Despite voters not being able to verify proper
            printed paper trail provides an                 technically           encoding of their selections in the printed QR
            opportunity for attackers to change             possible but is       code, MITRE NESL assessed the researcher’s
            voters’ selections within QR codes              highly                proposed QR code81 based attacks to be
            without their knowledge. The                    infeasible to         operationally infeasible given two parameters:
            researcher also asserts that these              achieve in            the normal operating procedures of a voting
            attacks are difficult to detect given           practice.             precinct and associated officials, and scale
            Georgia’s current risk-limiting audit                                 considerations.
            (RLA) policies and practices.
                                                                                  Given the effectiveness of RLAs in detecting
                                                                                  QR code based attacks, MITRE NESL
                                                                                  assessed that RLAs should be standard
                                                                                  practice.




81 The QR code is considered a non-authoritative portion of a Georgia ballot. In case of audit or discrepancy, Ga. Comp. R. &

  Regs. 183-1-15-.04 states that “auditors shall rely on the printed text on the ballot to determine the voter’s selection.”

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 No.      MITRE NESL’s Plain-language                 MITRE NESL         MITRE NESL Rationale
          Summary of the Researcher’s Claim           Conclusion
 MC.4     The researcher asserts that ballot-         Not enough         Attackers with the access and opportunity to
          manipulating attacks can be adapted to      information to     modify the ICX application (described further
          change voters’ selections in both the       assess             in Section 5.1.6) can technically insert new
          QR code and the plaintext portions of       feasibility in     functionality into the application that changes
          a printed BMD ballot. The researcher        changing the       a ballot’s QR code and its plaintext.
          also asserts that this scenario avoids      outcome of an
          detection during RLAs. The                  election.          Attacks that change the QR code and plaintext
          conclusion relies on voters not                                avoid detection during RLAs but are
          reviewing their printed ballots and                            detectable by voters who review their printed
          inconsistencies being attributed to user                       ballot and report discrepancies to poll
          error.                                                         workers. Poll workers document, respond to,
                                                                         and report these types of incidents pursuant to
                                                                         SEB Rule 183-1-12-.11.10.
                                                                         Not enough information is available for
                                                                         MITRE NESL to assess the feasibility for this
                                                                         hypothetical attack scenario to change the
                                                                         outcome of an election.
 MC.5     The researcher asserts that Georgia         Not enough         Not enough information is available for
          assumes an increased risk of attack on      information        MITRE NESL to assess the likelihood of
          its elections with its BMD-only             available to       attacks on the noted BMD-only and hand-
          system, where the BMDs are                  compare            marked paper ballot systems. This would
          considered vulnerable. The researcher       systems and        require a different and additional analysis not
          also asserts that other locations that      their associated   included in this review. The required analysis
          use a combination of hand-marked            likelihood to be   would depend upon 1) data that is not known
          paper ballots and optional BMDs are         attacked.          to exist at this time; and 2) baseline statistics
          less likely to be attacked. BMDs in the                        on both identified and hypothesized
          latter scenario only print a small                             compromise on paper ballots.
          number of votes, which reduces
          attackers’ incentives and potential
          impact.
 MC.6     The researcher asserts that                 The security of    A complete security evaluation of the
          Dominion’s ICX software does not            Dominion’s         deployed systems requires incorporation of
          appear to follow modern secure              ICX software       multi-layered cyber, physical, and
          software design principals and will be      relies on          human/operational protocols since the security
          challenging to retrofit with security       operational        of the ICX system relies on following
          features. The researcher also asserts       protocols.         operational procedures (many of which can be
          that despite its vulnerabilities, the ICX                      found in Appendix B). Application security
          system was certified by programs that                          risks of the ICX software can be mitigated
          do not seem to be effective.                                   with changes in development and deployment
                                                                         technical controls.



       Conclusion
In this report, MITRE NESL performed an independent expert technical review of claims made
by a researcher concerning the security of specific devices used in the conduct of elections in the
State of Georgia. MITRE NESL assessed the feasibility of the researcher’s proposed attacks
changing the outcome of a Georgia election. Without access to Georgia voting equipment or the
researcher’s proof-of-concept capabilities as part of this effort, MITRE NESL assumed validity
of the researcher’s technical capabilities and focused on the difficulty, time-required, level of

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physical access required, scalability, and detectability aspects of each proposed attack given
existing compensating controls. MITRE NESL has no evidence that any of the researcher’s
proposed attacks, in whole or in part, have been attempted by any party in an election.
MITRE NESL observed six total attack scenarios hypothesized by the researcher and assessed
each one to be operationally infeasible given two parameters: the normal operating procedures of
a voting precinct and associated officials, and scale considerations. Five of the proposed attacks
were detectable through RLAs, as they only modified a printed ballot’s QR code—a non-
authoritative component of a ballot—and the sixth proposed attack was detectable during normal
post-election result tabulation procedures. Five of six attacks were deemed non-scalable,
impacting a statistically insignificant number of votes on a single device at a time. One attack
was technically scalable but also was assessed to be infeasible due to access controls in place in
operational election environments, access required to Dominion election software, and access
required to Dominion election hardware.
Each of the proposed attacks requires access and/or opportunity that remains unavailable in the
operational environment: all six proposed attacks require an attacker to place hands on a device,
tamper with hardware and/or software, or otherwise perform actions under operating conditions
and security protocols developed to prevent this form of contact with the equipment.




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Appendix A: Technical Data Package Documents
The following TDP documents were made available by Susman Godfrey, L.L.P. to the MITRE
NESL team:
   •    Democracy Suite System Security Specification (Apr 2018)
   •    Democracy Suite ImageCast Central User Guide (Jan 2018)
   •    Democracy Suite ImageCast Adjudication User Guide (Jan 2018)
   •    Democracy Suite ImageCast X Functionality Description (May 2018)
   •    Democracy Suite ImageCast X User Guide (Aug 2018)
   •    Democracy Suite ImageCast X System Installation and Configuration (Aug 2018)
   •    Democracy Suite ImageCast X System Operations Procedures (Jan 2018)
   •    Democracy Suite ImageCast X Software Design Specification (May 2018)
   •    Democracy Suite ImageCast X System Maintenance Manual (Aug 2018)
   •    Democracy Suite ImageCast Precinct System Hardware Specifications (Sep 2017)
   •    Democracy Suite ImageCast Precinct System Hardware Characteristics (Sep 2017)
   •    Democracy Suite ImageCast Precinct System User Guide (Jan 2018)
   •    Democracy Suite ImageCast Precinct Software Design and Specification (Sep 2017)
   •    Democracy Suite ImageCast Precinct Functionality Description (Sep 2017)
   •    Democracy Suite ImageCast Precinct System Maintenance Manual (Sep 2017)
   •    Democracy Suite ImageCast Precinct System Operation Procedures (Jan 2018)
   •    Democracy Suite EMS Election Event Designer User Guide (Jan 2018)
   •    Democracy Suite EMS Voter Activation User Guide (Jan 2018)
   •    Democracy Suite EMS Results Tally & Reporting User Guide (Aug 2018)
   •    Democracy Suite EMS Election Data Translator User Guide (Jan 2018)
   •    Democracy Suite EMS Audio Studio User Guide (Dec 2017)




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Appendix B: Assumed Compensating Controls
MITRE NESL’s list of assumed compensating controls in Table 13 were derived and adapted
from recommended mitigations in the June 2022 Cybersecurity & Infrastructure Security Agency
(CISA) advisory on Vulnerabilities Affecting Dominion Voting Systems ImageCast X.82
  Table 13. MITRE NESL’s Assumed Compensating Controls of Dominion Equipment in Georgia
                                      Elections
 Compensating Control                         Documentation
 Ensure carefully selected protective         O.C.G.A. § 21-2-327. Preparation of voting machines; custodians and
 and detective physical security              their deputies; inspection; furnishing of supplies
 measures (for example, locks and             O.C.G.A. § 21-2-328. Delivery, set up, and sealing of properly furnished
 tamper-evident seals) are implemented        voting machines prior to primary or election; protection of voting
 on all devices, including on connected       machines against molestation or injury
 devices such as printers and                 O.C.G.A. § 21-2-329. Delivery of voting machine keys to chief manager.
 connecting cables.                           O.C.G.A. § 21-2-375. Delivery of equipment to polling places;
                                              protection for equipment; required accessories
                                              O.C.G.A. § 21-2-450. Opening of polls; procedure when ballot labels
                                              misplaced; certification by managers; machines to be locked until polls
                                              open; officers to be near machines; inspection of machines; broken
                                              machines
                                              O.C.G.A. § 21-2-454. Duties of poll officers after the close of the polls
                                              O.C.G.A. § 21-2-457. Removal, storage, and examination of voting
                                              machines after completion of vote count
                                              O.C.G.A. § 21-2-483. Counting of ballots; public accessibility to
                                              tabulating center and precincts; execution of ballot recap forms;
                                              procedure for torn, bent, or otherwise defective ballots; preparation of
                                              duplicate ballots
                                              SEB Rule 183-1-12-.04. Storage, Maintenance, and Transport of
                                              Statewide Voting System Components
                                              SEB Rule 183-1-12-.05. Security of Voting System Components at
                                              County Elections Office or Designated County Storage Area
                                              SEB Rule 183-1-12-.10. Before the Opening of the Polls
                                              SEB Rule 183-1-12-.11. Conducting Elections
                                              SEB Rule 183-1-12-.12. Tabulating Results
                                              ICP Acceptance Test procedure and Checklist
 Ensure compliance with chain of              O.C.G.A. § 21-2-327. Preparation of voting machines; custodians and
 custody procedures throughout the            their deputies; inspection; furnishing of supplies
 election cycle.                              O.C.G.A. § 21-2-329. Delivery of voting machine keys to chief manager
                                              O.C.G.A. § 21-2-330. Public exhibition of and instruction on sample
                                              voting machine
                                              O.C.G.A. § 21-2-331. Designation and compensation of custodians of
                                              voting machines and keys; storage of voting machines when not in use


82 CISA, Vulnerabilities Affecting Dominion Voting Systems ImageCast X. Retrieved 09 June 2022 from

  https://www.cisa.gov/uscert/ics/advisories/icsa-22-154-01

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Compensating Control                       Documentation
                                           O.C.G.A. § 21-2-375. Delivery of equipment to polling places;
                                           protection for equipment; required accessories
                                           O.C.G.A. § 21-2-377. Custody and storage when not in use
                                           O.C.G.A. § 21-2-379.25. Programming for ballot design and style;
                                           verification; appointment of custodians; role of custodians; testing of
                                           electronic ballot marker; public notice of testing
                                           O.C.G.A. § 21-2-379.26. Storage of equipment
                                           O.C.G.A. § 21-2-455. Canvass and return of votes
                                           O.C.G.A. § 21-2-485. Responsibilities of poll officers
                                           O.C.G.A. § 21-2-500. Delivery of Voting Materials; presentation to
                                           grand jury in certain cases; preservation and destruction; destruction of
                                           unused ballots
                                           SEB Rule 183-1-12-.04. Storage, Maintenance, and Transport of
                                           Statewide Voting System Components
                                           SEB Rule 183-1-12-.05. Security of Voting System Components at
                                           County Elections Office or Designated County Storage Area
                                           SEB Rule 183-1-12-.06. Handling of Voting Systems
                                           SEB Rule 183-1-12-.09. Transport to Polls
                                           SEB Rule 183-1-12-.12. Tabulating Results
                                           SEB Rule 183-1-12-.14. Maintenance of Equipment
                                           SEB Rule 183-1-12-.15. Use of Equipment by Municipalities
                                           COC-PM-EM-22
Ensure a system to report irregularities   O.C.G.A. § 21-2-408. Poll watchers; designation; duties; removal for
observed in voting or tabulation areas.    interference with election; reports of infractions or irregularities;
                                           ineligibility of candidates to serve; training.
                                           O.C.G.A. § 21-2-483. Counting of ballots; public accessibility to
                                           tabulating center and precincts; execution of ballot recap forms;
                                           Procedure for torn, bent, or otherwise defective ballots; preparation of
                                           duplicate ballots.
                                           O.C.G.A. § 21-2-450. Opening of polls; procedure when ballot labels
                                           misplaced; certification my managers; machines to be locked until polls
                                           open; officers to be near machines; inspection of machines; broken
                                           machines.
                                           SEB Rule 183-1-12-.11. Conducting Elections
Ensure that ImageCast X and the            SEB Rule 183-1-12-.05. Security of Voting System Components at
Election Management System (EMS)           County Elections Office or Designated County Storage Area
are not connected to any external (i.e.,
                                           ICX Acceptance Test Procedure and Checklist
Internet accessible) networks.




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Compensating Control                    Documentation
Limit physical access to all voting     O.C.G.A. § 21-2-330. Public exhibition of and instruction on sample
machines and election equipment to      voting machine
only persons who have “need to
                                        O.C.G.A. § 21-2-379.24. Examination of electronic ballot markers;
know” and proper authorization or
                                        revocation of approval; penalty to vendors for inappropriate sale;
supervision.
                                        improvements or changes to devices; prohibition of pecuniary interest;
                                        limitation on public inspection
                                        O.C.G.A. § 21-2-450. Opening of polls; procedure when ballot labels
                                        misplaced; certification my managers; machines to be locked until polls
                                        open; officers to be near machines; inspection of machines; broken
                                        machines
                                        O.C.G.A. § 21-2-483. Counting of ballots; public accessibility to
                                        tabulating center and precincts; execution of ballot recap forms;
                                        procedure for torn, bent, or otherwise defective ballots; preparation of
                                        duplicate ballots
                                        O.C.G.A. § 21-2-254. Admission of electors to enclosed space; voting
                                        procedure generally; procedure as to write-in votes; voting by electors
                                        whose right to vote is challenged; disabled voters
                                        SEB Rule 183-1-12-.04. Storage, Maintenance, and Transport of
                                        Statewide Voting System Components
                                        SEB Rule 183-1-12-.05. Security of Voting System Components at
                                        County Elections Office or Designated County Storage Area
                                        SEB Rule 183-1-12-.08. Logic and Accuracy Testing
                                        SEB Rule 183-1-12-.10. Before the Opening of Polls
                                        SEB Rule 183-1-12-.12. Tabulating Results
Ensure secure transport of all voting   O.C.G.A. § 21-2-328. Delivery, set up, and sealing of properly furnished
equipment to/from polling locations     voting machines prior to primary or election; protection of voting
                                        machines against molestation or injury
                                        SEB Rule 183-1-12-.04: Storage, Maintenance, and Transport of
                                        Statewide Voting System Components
                                        SEB Rule 183-1-12-.09: Transport to Polls
Ensure all ImageCast X and              O.C.G.A. § 21-2-374. Proper programming; proper order; testing;
ImageCast Precinct devices are          supplies
subjected to rigorous pre- and post-    O.C.G.A. § 21-2-376. Demonstration of equipment
election testing.                       O.C.G.A. § 21-2-379.25. Programming for ballot design and style;
                                        verification; appointment of custodians; role of custodians; testing of
                                        electronic ballot marker; public notice of testing
                                        SEB Rule 183-1-12-.08. Logic and Accuracy Testing
                                        SEB Rule 183-1-12-.10. Before the Opening of Polls
                                        ICX Acceptance Test procedure and Checklist
                                        ICP Acceptance Test procedure and Checklist



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Compensating Control                     Documentation
Encourage voters to verify their paper   SEB Rule 183-1-12-.11. Conducting Elections
ballot prior to casting.
                                         Secure the Vote Website: https://securevotega.com/voting-system/
                                         Poll Worker Manual: Voting Area Posters and Signs
Conduct rigorous post-election           O.C.G.A. § 21-2-421. Posting of required information after closing of
tabulation audits of the cast record     polls; reporting to Secretary of State
portion of physical paper ballots to
                                         O.C.G.A. § 21-2-454. Duties of poll officers after the close of the polls
include reviewing ballot chain of
custody and conducting voter/ballot      O.C.G.A. § 21-2-455. Canvass and return of votes
reconciliation procedures.               O.C.G.A. § 21-2-498. Precertification Tabulation Audits
                                         O.C.G.A. § 21-2-500. Delivery of voting materials; presentation to grand
                                         jury in certain cases; preservation and destruction; destruction of unused
                                         ballots
                                         SEB Rule 183-1-12-.12. Tabulating Results




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List of Acronyms
Acronym       Definition

APK           Android Package
BMD           Ballot Marking Device
CISA          Cybersecurity & Infrastructure Security Agency
COC           Chain of Custody
DRE           Direct-Recording Electric
EDF           Election Definition File
EMS           Election Management System
FFRDC         Federally Funded Research and Development Center
HP            Hewlett-Packard
ICP           ImageCast Precinct
ICX           ImageCast X
ISO           International Organization for Standardization
LAT           Logic and Accuracy Testing
LLP           Limited Liability Partnership
MAC           Message Authentication Code
MC            Main Conclusion
NESL          National Election Security Lab
OAT           Ahead-of-Time File
OCGA          Official Code of Georgia Annotated
PF            Principal Finding
PIN           Personal Identification Number
POC           Proof-of-Concept
QR            Quick Response
RLA           Risk-Limiting Audit
SEB           State Election Board
USB           Universal Serial Bus




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